Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 1 of 66 Page ID #:9




                        EXHIBIT A
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 2 of 66 Page ID #:10




Important Notice - In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                        President                                                     Corporate Secretary




              QUESTIONS ABOUT YOUR INSURANCE?                   Your agent or broker is best equipped to
              provide information about your insurance. Should you require additional information or
              assistance in resolving a complaint, call or write to the following (please have your policy or
              claim number ready):

                                                Zurich in North America
                                                Customer Inquiry Center
                                                     1299 Zurich Way
                                            Schaumburg, Illinois 60196-1056
                                  1-800-382-2150 (Business Hours: 8 a.m. - 4 p.m. [CT])
                                            Email: info.source@zurichna.com




                                                                                                             U-GU-319-F (01/09)
                                                                                                                    Page 1 of 1
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 3 of 66 Page ID #:11




Disclosure Statement


                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                    INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                  U-GU-873-A CW (06/11)
                                                                                                             Page 1 of 1
   Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 4 of 66 Page ID #:12




Disclosure Statement


                NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


          If you want to learn more about the compensation Zurich pays agents and brokers visit:

                             http://www.zurichnaproducercompensation.com

                          or call the following toll-free number: (866) 903-1192.



                This Notice is provided on behalf of Zurich American Insurance Company

                                    and its underwriting subsidiaries.




                                                                                             U-GU-874-A CW (06/11)
                                                                                                        Page 1 of 1
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 5 of 66 Page ID #:13




Contractor’s Protective Professional Indemnity and
Liability Insurance

                                      ZURICH AMERICAN INSURANCE COMPANY
                                                  1299 Zurich Way
                                            Schaumburg, Illinois 60196-1056

Policy Number:        EOC 9487862-07                              Renewal of:    EOC 9487862-06
Producer Number: 18232000
Producer Name:        MARSH USA INC

Item 1.   Named Insured:         LEND LEASE AMERICAS

          Address:               200 PARK AVENUE
                                 9TH FL
                                 NEW YORK, NY 10166-0005

Item 2.   Limits of Liability:   COVERAGE PART A:           $10,000,000       Each "Claim"
                                 COVERAGE PART B:           $10,000,000       Each "Claim"
                                 Rectification Coverage:    $10,000,000       Each Claim
                                 POLICY                     $10,000,000       Aggregate Limit of Liability

          NEW YORK REGULATION 107 NOTICE: "Claim expenses" shall be charged against the Limits of Liability and
          Deductible in the amount up to 100% of the Limits of Liability and Deductible. In the event that the Limits of
          Liability is completely exhausted by "claim expenses," we shall not be liable for "claim expenses" or for the
          amount of any judgment or settlement after exhaustion of the Limits of Liability.

Item 3.   "Policy Period":       Inception Date: 10/01/2018 Expiration Date: 10/01/2019
                                 (12:01 a.m. local time at the address shown in Item 1.)

Item 4.   Self Insured Retention:      COVERAGE PART A:          $2,000,000           Each "Claim"
                                       COVERAGE PART B:          $2,000,000           Each "Claim"
                                       Rectification Coverage:   $2,000,000           Each Claim

Item 5.   "Retroactive Date":       See Applicable Attached Endorsements




NYFTZ Class:      1    Class Code: 1-MKTDV, 1-17982, 1-73908




  NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
  EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
  INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
  MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
  LAW AND REGULATIONS.
                                                                                                   U-FTZ-D-112-C NY (02/16)
                                                                                                                Page 1 of 2
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 6 of 66 Page ID #:14


Item 6.   Premium:            $2,156,223           ( 25.00% Minimum & Deposit Premium)

Item 7.   Endorsement(s) Effective at Inception:     "See Schedule of Forms and Endorsements"
Item 8.   Policy Form:        STF-CPP-100-B CW (11/09)




                                                                                           U-FTZ-D-112-C NY (02/16)
                                                                                                        Page 2 of 2
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 7 of 66 Page ID #:15




Schedule Of Forms And Endorsements


    Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018           10/01/2019          10/01/2018         18232000

Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005


Form Number                              Form Name
U-GU-319-F (01/09)                       Important Notice - In Witness Clause
U-FTZ-D-112-C NY (02/16)                 Contractor's Protective Professional Indemnity andLiability Insurance

STF-CPP-100-B CW (11/09)                 Contractor's Protective Professional Indemnity and Liability Insurance
STF-CPP-150-A CW (04/10)                 Modified Retroactive Dates
STF-CPP-107-A CW (05/09)                 Additional Named Insured(s)
STF-CPP-109-A CW (05/09)                 Choice of Counsel - Coverage Part A
STF-CPP-112-C CW (06/10)                 Excess of Project Specific Insurance - Blanket

STF-CPP-116-A CW (05/09)                 Ninety (90) Day Cancellation
STF-CPP-121-A CW (05/09)                 Prior Claims Exclusion
STF-CPP-123-A CW (05/09)                 Punitive Damages Where Allowable by Law
STF-CPP-146-B CW (03/11)                 Modification Of Exclusion R - Deletion Of Terrorism Exclusion
STF-CPP-149-A CW (04/10)                 Reduced Self-Insured Retention and Indemnity Endorsement
STF-CPP-152-A CW (05/10)                 Excess of Project Specific Insurance - Specific Project Coverage Part A -
                                         Contractor's Professional Liability
STF-CPP-155-B CW (03/11)                 Rectification Indemnity Coverage
STF-CPP-172-A CW (05/11)                 ADA, FHA, OSHA, State Licensing and Regulatory Board Legal Expense
                                         Reimbursement Endorsement

STF-CPP-173-B CW (08/11)                 Pre-Claims Assistance Endorsement
U-FTZ-167-A NY (05/10)                   Defense Provision New York 100% Claim Expense Offset Endorsement
STF-CPP-140-A CW (01/10)                 Amendment of Definitions

STF-CPP-140-A CW (01/10)                 Amendment of Prior Knowledge Provision
STF-CPP-140-A CW (01/10)                 Indemnified Parties - Vicarious Liability

STF-CPP-140-A CW (01/10)                 Negligence Endorsement
STF-CPP-140-A CW (01/10)                 Amendment of Insuring Agreement - Coverage Part A


                                                                                                         STF-CPP-129-A CW (05/09)
                                                                                                                       Page 1 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 8 of 66 Page ID #:16


STF-CPP-140-A CW (01/10)   Amendment of Notice of Circumstance
STF-CPP-119-B CW (02/12)   Nuclear Energy Liability Exclusion - Broad Form

U-FTZ-166-A NY (05/10)     Cancellation, Nonrenewal and Conditional Nonrenewal - New York
U-FTZ-170-A NY (05/10)     New York Regulation 121 Notice and Disclosure Statement

U-GU-1191-A CW (03/15)     Sanctions Exclusion Endorsement




                                                                                     STF-CPP-129-A CW (05/09)
                                                                                                   Page 2 of 2
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 9 of 66 Page ID #:17




Contractor’s Protective Professional Indemnity and
Liability Insurance

THIS POLICY PROVIDES CLAIMS MADE COVERAGE. UNDER COVERAGE PART A, “PROFESSIONAL LIABILITY
CLAIMS” MUST FIRST BE MADE AGAINST THE “INSURED” DURING THE “POLICY PERIOD” AND REPORTED IN
WRITING TO US DURING THE “POLICY PERIOD” OR EXTENDED REPORTING PERIOD, IF APPLICABLE. UNDER
COVERAGE PART B, “PROTECTIVE INDEMNITY CLAIMS” MUST FIRST BE MADE BY YOU AGAINST THE
“DESIGN PROFESSIONAL” AND REPORTED IN WRITING BY YOU TO US DURING THE “POLICY PERIOD” OR
EXTENDED REPORTING PERIOD, IF APPLICABLE.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine your rights, duties and
what is and is not covered. Throughout this policy the words "you" and "your" refer to the “Named Insured” shown in the
Declarations. The words "we", "us", and "our" refer to the Company providing this insurance. This policy contains
Coverage A - Contractor’s Professional Liability Coverage and Coverage B - Contractor’s Protective Professional
Indemnity Coverage, including terms and conditions unique to those coverage parts, and Common Policy Sections
applicable to both Coverage Part A and Coverage Part B.
Refer to the DEFINITIONS sections of this policy for the special meaning of words and phrases that appear in quotation
marks. PLEASE READ THE ENTIRE POLICY CAREFULLY.
In consideration of the premium charged, your undertaking to pay the Self Insured Retention, if any, and in reliance upon
the statements in the application made a part hereof, and subject to the Limit of Liability of this insurance as set forth in
the Declarations, and the Exclusions, Conditions and other terms of this Policy, we agree with you as follows:
I.   INSURING AGREEMENT
     COVERAGE PART A - CONTRACTOR’S PROFESSIONAL LIABILITY COVERAGE
     A.   COVERAGE
          We will pay on behalf of the "Insured" all sums in excess of the applicable Self Insured Retention noted in Item
          4 of the Declarations that the “Insured” is legally obligated to pay as "Damages" because of a "Professional
          Liability Claim" first made against the “Insured” during the "Policy Period" and reported to us during the "Policy
          Period", the Automatic Extended Reporting Period or the Optional Extended Reporting Period if applicable,
          provided that:
          1.   the "Professional Liability Claim" arises out of an actual or alleged negligent act, error or omission with
               respect to the rendering of or failure to render "Professional Services" by the “Insured” or any entity for
               which the “Insured” is legally responsible;
          2.   the actual or alleged negligent act error, or omission took place during the "Policy Period" or on or after the
               "Retroactive Date" specified in the Declarations; and
          3.   prior to the effective date of the first policy issued to you and continuously renewed by us, none of your
               principals, partners, directors or officers had any knowledge of any circumstance that could reasonably be
               expected to result in a "Professional Liability Claim".
     B.   DEFENSE
          We have the right and duty to defend, with counsel of our choice, any "Professional Liability Claim" seeking
          "Damages" to which Coverage Part A of this insurance applies. "Professional Liability Claim Expenses" reduce
          the applicable Limit of Liability identified in the Declarations and as described in Section IV.A.2 SELF INSURED
          RETENTION. Our duty to defend all "Professional Liability Claims" or pay any “Damages” or "Professional
          Liability Claim Expenses" to which this insurance applies shall end when the applicable Limit of Liability has
          been exhausted by the payment of "Professional Liability Claim Expenses" or "Damages".




                                                                                                      STF-CPP-100-B CW (11/09)
                                                                                                                  Page 1 of 12
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 10 of 66 Page ID #:18


      C.   MEDIATION
           If we and you agree to use “Mediation” to resolve a “Professional Liability Claim” and the “Professional Liability
           Claim” is resolved thereby, the Self Insured Retention set out in the Declarations shall be reduced by 50% for
           that “Professional Liability Claim”, subject to maximum reduction of $20,000 each “Professional Liability Claim”.
           Any Self Insured Retention payments above the reduced Self Insured Retention amount will be reimbursed
           within 30 days of the resolution of the “Professional Liability Claim”.
      COVERAGE PART B - CONTRACTOR’S PROTECTIVE PROFESSIONAL INDEMNITY
      A.   COVERAGE
           We shall indemnify you for “Loss” in excess of the "Design Professional's Insurance", subject to the provisions
           of the Self Insured Retention and Limit of Liability designated in Items 4 and 2 of the Declarations, respectively,
           provided that:
           1.   a "Protective Indemnity Claim" is first made by you against the “Design Professional” under contract to you
                and reported in writing by you to us during the “Policy Period” or if exercised, the Optional Extended
                Reporting Period;
           2.   such “Protective Indemnity Claim” arises out of a negligent act, error or omission of the “Design
                Professional” in the rendering of or failure to render “Professional Services”, and the act, error or omission
                took place on or after the "Retroactive Date" specified in the Declarations; and
           3.   prior to the effective date of the first policy issued to you and continuously renewed by us, none of your
                principals, partners, directors or officers had any knowledge of any circumstance that could reasonably be
                expected to result in a "Protective Indemnity Claim".
      B.   DEFENSE
           We shall not defend any "Design Professional", even if the "Design Professional's Insurance" has been reduced,
           exhausted, or for any reason is unavailable.
II.   DEFINITIONS
      A.   “Bodily Injury” means physical injury, sickness, disease, death, mental anguish or emotional distress sustained
           by any person.
      B.   "Claim" means "Professional Liability Claim" or as otherwise defined as by endorsement to this policy.
      C.   "Claim Expenses" means:
           1.   fees charged by an attorney designated by:
                (a) us; or
                (b) the "Insured" with our prior written consent.
           2.   with the exception of Item 4. in this definition, all other fees, costs and expenses resulting from the
                investigation, adjustment, or defense of a "Claim", and the premiums for appeal, attachment or similar
                bonds;
           3.   interest on the full amount of any judgment that accrues after entry of the judgment and before we have
                paid, offered to pay, or deposited in court the amount available for the judgment under this policy; and
           4.   allowable expenses of $500 per day but no more than $10,000 for each "Claim" as compensation to your
                principals, directors, officers or employees for personally attending any legal or disciplinary proceeding at
                our request. These allowable expenses shall not be applied towards reducing the applicable Self Insured
                Retention amount and are in addition to the Limit of Liability.
           "Claim Expenses" do not include salaries of your principals, directors, officers or employees, or salaries or
           expenses of our regular employees or officials; or fees and expenses of independent or public adjusters
           retained by us or the "Insured".




                                                                                                      STF-CPP-100-B CW (11/09)
                                                                                                                  Page 2 of 12
 Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 11 of 66 Page ID #:19


D.   "Damages" means the monetary amounts for which the “Insured” may be held legally liable, including sums paid
     as judgments, awards, or settlements, and related "Professional Liability Claim Expenses" but do not include:
     1.   the restitution, return, withdrawal or reduction of fees, profits or charges for services rendered or offered or
          any other consideration or expenses paid to the “Insured” or by the “Insured” for services or products; or
     2.   judgments or awards deemed uninsurable by law.
E.   "Design Professional" means those persons or entities or successors professionally qualified to perform
     “Professional Services” either itself or through the services of a subcontractor or subconsultant at any tier.
F.   "Design Professional's Insurance" means all professional liability policies insuring the "Design Professionals"
     under contract to you.
G.   "Insured" means:
     1.   the "Named Insured";
     2.   your current or former principals, partners, executive officers, directors, stockholders, trustees or
          employees while acting on your behalf and within the scope of their duties as such;
     3.   your current or former employees including leased personnel under your supervision, but only for acts
          within the scope of their employment or lease agreement;
     4.   your heirs, executors, administrators, assigns and legal representatives in the event of death, incapacity or
          bankruptcy, but solely with respect to the liability of the Named Insured otherwise insured herein;
     5.   any "Predecessor in Interest";
     6.   any “Insured” with regard to its participation in a legal entity including a limited liability company or joint
          venture, but only to the extent of the Insured’s legal liability resulting from its performance of Professional
          Services under the respective legal entity or joint venture.
     7.   Any entity that is newly formed or acquired by the Named Insured during the policy period where the
          Named Insured has greater than fifty percent ownership, control, or beneficial interest, provided however
          that:
          a.   Coverage shall be provided only for “Damages” arising out of “Professional Services” performed on or
               after the date of formation or acquisition, subject to the “Retroactive Date”; and
          b.   This coverage shall expire at the end of the Policy Period or within 90 days of such formation or
               acquisition of the entity, whichever is earlier, unless you submit written notice to the Company
               providing detailed information concerning the newly formed or acquired entity, and provided further
               that you pay any additional premium requested by the Company.
H.   “Loss” as respects Coverage Part B, means the amount you are legally entitled to recover from the "Design
     Professional(s)" either by adjudication by a court of competent jurisdiction, arbitration or settlement or any other
     method of dispute resolution to which we agree in writing. Such “Loss” must be the result of a negligent act,
     error or omission on the part of the "Design Professional(s)" in the rendering of or failure to render “Professional
     Services”.
I.   "Mediation" means non-binding intervention by a neutral third party.
J.   "Named Insured" means the partnership, firm or corporation named in Item 1 of the Declarations, and includes
     any and all affiliates, divisions, subsidiary corporations, or subsidiary limited liability companies thereof, and any
     other legal entity in which you have fifty percent or more ownership.
K.   "Policy Period" means the period set forth in the Declarations, or any shorter period resulting from a termination
     of this policy.
L.   "Predecessor in Interest" means any prior entity whose assets have been acquired by you or whose partners,
     principals or shareholders have joined you and whose name has been provided in the application and for whose
     insurance you are responsible by written agreement.
M.   "Professional Liability Claim" means any demand received by an “Insured” seeking “Damages” for “Professional
     Services” and alleging liability or responsibility on the “Insured’s” part or on the part of any entity for whom the
     “Insured” is legally responsible.




                                                                                                   STF-CPP-100-B CW (11/09)
                                                                                                               Page 3 of 12
Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 12 of 66 Page ID #:20




                         EXHIBIT A
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 13 of 66 Page ID #:21




Important Notice - In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                        President                                                     Corporate Secretary




              QUESTIONS ABOUT YOUR INSURANCE?                   Your agent or broker is best equipped to
              provide information about your insurance. Should you require additional information or
              assistance in resolving a complaint, call or write to the following (please have your policy or
              claim number ready):

                                                Zurich in North America
                                                Customer Inquiry Center
                                                     1299 Zurich Way
                                            Schaumburg, Illinois 60196-1056
                                  1-800-382-2150 (Business Hours: 8 a.m. - 4 p.m. [CT])
                                            Email: info.source@zurichna.com




                                                                                                             U-GU-319-F (01/09)
                                                                                                                    Page 1 of 1
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 14 of 66 Page ID #:22




Disclosure Statement


                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                    INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                  U-GU-873-A CW (06/11)
                                                                                                             Page 1 of 1
   Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 15 of 66 Page ID #:23




Disclosure Statement


                 NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


           If you want to learn more about the compensation Zurich pays agents and brokers visit:

                              http://www.zurichnaproducercompensation.com

                           or call the following toll-free number: (866) 903-1192.



                 This Notice is provided on behalf of Zurich American Insurance Company

                                     and its underwriting subsidiaries.




                                                                                              U-GU-874-A CW (06/11)
                                                                                                         Page 1 of 1
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 16 of 66 Page ID #:24




Contractor’s Protective Professional Indemnity and
Liability Insurance

                                      ZURICH AMERICAN INSURANCE COMPANY
                                                  1299 Zurich Way
                                            Schaumburg, Illinois 60196-1056

Policy Number:        EOC 9487862-07                              Renewal of:    EOC 9487862-06
Producer Number: 18232000
Producer Name:        MARSH USA INC

Item 1.   Named Insured:         LEND LEASE AMERICAS

          Address:               200 PARK AVENUE
                                 9TH FL
                                 NEW YORK, NY 10166-0005

Item 2.   Limits of Liability:   COVERAGE PART A:           $10,000,000       Each "Claim"
                                 COVERAGE PART B:           $10,000,000       Each "Claim"
                                 Rectification Coverage:    $10,000,000       Each Claim
                                 POLICY                     $10,000,000       Aggregate Limit of Liability

          NEW YORK REGULATION 107 NOTICE: "Claim expenses" shall be charged against the Limits of Liability and
          Deductible in the amount up to 100% of the Limits of Liability and Deductible. In the event that the Limits of
          Liability is completely exhausted by "claim expenses," we shall not be liable for "claim expenses" or for the
          amount of any judgment or settlement after exhaustion of the Limits of Liability.

Item 3.   "Policy Period":       Inception Date: 10/01/2018 Expiration Date: 10/01/2019
                                 (12:01 a.m. local time at the address shown in Item 1.)

Item 4.   Self Insured Retention:      COVERAGE PART A:          $2,000,000           Each "Claim"
                                       COVERAGE PART B:          $2,000,000           Each "Claim"
                                       Rectification Coverage:   $2,000,000           Each Claim

Item 5.   "Retroactive Date":       See Applicable Attached Endorsements




NYFTZ Class:      1    Class Code: 1-MKTDV, 1-17982, 1-73908




  NOTICE: THESE POLICY FORMS AND THE APPLICABLE RATES ARE
  EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
  INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS AND RATES
  MUST MEET THE MINIMUM STANDARDS OF THE NEW YORK INSURANCE
  LAW AND REGULATIONS.
                                                                                                   U-FTZ-D-112-C NY (02/16)
                                                                                                                Page 1 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 17 of 66 Page ID #:25


Item 6.   Premium:            $2,156,223           ( 25.00% Minimum & Deposit Premium)

Item 7.   Endorsement(s) Effective at Inception:     "See Schedule of Forms and Endorsements"
Item 8.   Policy Form:        STF-CPP-100-B CW (11/09)




                                                                                           U-FTZ-D-112-C NY (02/16)
                                                                                                        Page 2 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 18 of 66 Page ID #:26




Schedule Of Forms And Endorsements


    Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018           10/01/2019          10/01/2018         18232000

Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005


Form Number                              Form Name
U-GU-319-F (01/09)                       Important Notice - In Witness Clause
U-FTZ-D-112-C NY (02/16)                 Contractor's Protective Professional Indemnity andLiability Insurance

STF-CPP-100-B CW (11/09)                 Contractor's Protective Professional Indemnity and Liability Insurance
STF-CPP-150-A CW (04/10)                 Modified Retroactive Dates
STF-CPP-107-A CW (05/09)                 Additional Named Insured(s)
STF-CPP-109-A CW (05/09)                 Choice of Counsel - Coverage Part A
STF-CPP-112-C CW (06/10)                 Excess of Project Specific Insurance - Blanket

STF-CPP-116-A CW (05/09)                 Ninety (90) Day Cancellation
STF-CPP-121-A CW (05/09)                 Prior Claims Exclusion
STF-CPP-123-A CW (05/09)                 Punitive Damages Where Allowable by Law
STF-CPP-146-B CW (03/11)                 Modification Of Exclusion R - Deletion Of Terrorism Exclusion
STF-CPP-149-A CW (04/10)                 Reduced Self-Insured Retention and Indemnity Endorsement
STF-CPP-152-A CW (05/10)                 Excess of Project Specific Insurance - Specific Project Coverage Part A -
                                         Contractor's Professional Liability
STF-CPP-155-B CW (03/11)                 Rectification Indemnity Coverage
STF-CPP-172-A CW (05/11)                 ADA, FHA, OSHA, State Licensing and Regulatory Board Legal Expense
                                         Reimbursement Endorsement

STF-CPP-173-B CW (08/11)                 Pre-Claims Assistance Endorsement
U-FTZ-167-A NY (05/10)                   Defense Provision New York 100% Claim Expense Offset Endorsement
STF-CPP-140-A CW (01/10)                 Amendment of Definitions

STF-CPP-140-A CW (01/10)                 Amendment of Prior Knowledge Provision
STF-CPP-140-A CW (01/10)                 Indemnified Parties - Vicarious Liability

STF-CPP-140-A CW (01/10)                 Negligence Endorsement
STF-CPP-140-A CW (01/10)                 Amendment of Insuring Agreement - Coverage Part A


                                                                                                         STF-CPP-129-A CW (05/09)
                                                                                                                       Page 1 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 19 of 66 Page ID #:27


STF-CPP-140-A CW (01/10)   Amendment of Notice of Circumstance
STF-CPP-119-B CW (02/12)   Nuclear Energy Liability Exclusion - Broad Form

U-FTZ-166-A NY (05/10)     Cancellation, Nonrenewal and Conditional Nonrenewal - New York
U-FTZ-170-A NY (05/10)     New York Regulation 121 Notice and Disclosure Statement

U-GU-1191-A CW (03/15)     Sanctions Exclusion Endorsement




                                                                                     STF-CPP-129-A CW (05/09)
                                                                                                   Page 2 of 2
 Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 20 of 66 Page ID #:28


D.   "Damages" means the monetary amounts for which the “Insured” may be held legally liable, including sums paid
     as judgments, awards, or settlements, and related "Professional Liability Claim Expenses" but do not include:
     1.   the restitution, return, withdrawal or reduction of fees, profits or charges for services rendered or offered or
          any other consideration or expenses paid to the “Insured” or by the “Insured” for services or products; or
     2.   judgments or awards deemed uninsurable by law.
E.   "Design Professional" means those persons or entities or successors professionally qualified to perform
     “Professional Services” either itself or through the services of a subcontractor or subconsultant at any tier.
F.   "Design Professional's Insurance" means all professional liability policies insuring the "Design Professionals"
     under contract to you.
G.   "Insured" means:
     1.   the "Named Insured";
     2.   your current or former principals, partners, executive officers, directors, stockholders, trustees or
          employees while acting on your behalf and within the scope of their duties as such;
     3.   your current or former employees including leased personnel under your supervision, but only for acts
          within the scope of their employment or lease agreement;
     4.   your heirs, executors, administrators, assigns and legal representatives in the event of death, incapacity or
          bankruptcy, but solely with respect to the liability of the Named Insured otherwise insured herein;
     5.   any "Predecessor in Interest";
     6.   any “Insured” with regard to its participation in a legal entity including a limited liability company or joint
          venture, but only to the extent of the Insured’s legal liability resulting from its performance of Professional
          Services under the respective legal entity or joint venture.
     7.   Any entity that is newly formed or acquired by the Named Insured during the policy period where the
          Named Insured has greater than fifty percent ownership, control, or beneficial interest, provided however
          that:
          a.   Coverage shall be provided only for “Damages” arising out of “Professional Services” performed on or
               after the date of formation or acquisition, subject to the “Retroactive Date”; and
          b.   This coverage shall expire at the end of the Policy Period or within 90 days of such formation or
               acquisition of the entity, whichever is earlier, unless you submit written notice to the Company
               providing detailed information concerning the newly formed or acquired entity, and provided further
               that you pay any additional premium requested by the Company.
H.   “Loss” as respects Coverage Part B, means the amount you are legally entitled to recover from the "Design
     Professional(s)" either by adjudication by a court of competent jurisdiction, arbitration or settlement or any other
     method of dispute resolution to which we agree in writing. Such “Loss” must be the result of a negligent act,
     error or omission on the part of the "Design Professional(s)" in the rendering of or failure to render “Professional
     Services”.
I.   "Mediation" means non-binding intervention by a neutral third party.
J.   "Named Insured" means the partnership, firm or corporation named in Item 1 of the Declarations, and includes
     any and all affiliates, divisions, subsidiary corporations, or subsidiary limited liability companies thereof, and any
     other legal entity in which you have fifty percent or more ownership.
K.   "Policy Period" means the period set forth in the Declarations, or any shorter period resulting from a termination
     of this policy.
L.   "Predecessor in Interest" means any prior entity whose assets have been acquired by you or whose partners,
     principals or shareholders have joined you and whose name has been provided in the application and for whose
     insurance you are responsible by written agreement.
M.   "Professional Liability Claim" means any demand received by an “Insured” seeking “Damages” for “Professional
     Services” and alleging liability or responsibility on the “Insured’s” part or on the part of any entity for whom the
     “Insured” is legally responsible.




                                                                                                   STF-CPP-100-B CW (11/09)
                                                                                                               Page 3 of 12
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 21 of 66 Page ID #:29


   N.   "Professional Liability Claim Expenses" means "Claim Expenses".
   O.   “Professional Services” for purposes of Coverage Part A means those services that the “Insured”, a “Design
        Professional”, or an entity providing services under contract to a “Design Professional”, are qualified to perform
        for others in their capacity as an architect, engineer, landscape architect, land surveyor or planner, construction
        manager, a LEED accredited professional, interior designer/space planner, or as specifically described by
        endorsement to this policy. "Professional Services" includes "Technology Services" to the extent provided in
        conjunction with the aforementioned capacities.
   P.   “Professional Services” for purposes of Coverage Part B means those services that the “Design Professional”,
        or an entity providing services under contract to the “Design Professional”, are qualified to perform for others in
        their capacity as an architect, engineer, landscape architect, land surveyor or planner, construction manager, a
        LEED accredited professional, interior designer/space planner, or as specifically described by endorsement to
        this policy. "Professional Services" includes "Technology Services" to the extent provided in conjunction with
        the aforementioned capacities.
   Q.   "Property Damage" means:
        1.   Physical injury to or destruction of tangible property including the resulting loss of use thereof;
        2.   Loss of use of tangible property that has not been physically injured or destroyed.
   R.   "Protective Indemnity Claim" means a written demand by you against a "Design Professional(s)" under contract
        with you seeking a remedy from or alleging liability or responsibility on the part of such “Design Professional(s)”
        for “Loss” arising out of the “Design Professional’s” rendering of or failure to render “Professional Services”.
   S.   "Retroactive Date" means the date on or after which any alleged or actual negligent act, error or omission giving
        rise to a "Protective Indemnity Claim", "Professional Liability Claim", “Loss” or “Damage” must have taken place
        in order to be considered for coverage under this policy, as stated in Item 5 of the Declarations. If none is
        shown, the retroactive date will be the effective date of the first policy issued by us to you.
   T.   “Technology Services” means the activities performed by or on behalf of the Insured including:
        a.   website design or website programming;
        b.   database design or database management, data warehousing, data application hosting;
        c.   hosting, management or maintenance of websites designed or programmed;
        d.   maintenance of computer programs, applications or systems designed or developed;
        e.   design and development of computer software programs, applications or systems;
        f.   creation, maintenance, use, modification, alteration, and input into any digital model or digital
             representation, including, for example, a Building Information Model (BIM) or other computer assisted
             design or drafting system or program; and
        g.   electronic data transmission in conjunction with any of the above.
III. EXCLUSIONS
   This insurance does not apply to “Damages” or “Losses” based upon or arising out of:
   A.   any “Professional Liability Claim” or "Protective Indemnity Claim" made by any "Insured" against any other
        "Insured;"
   B.   any “Professional Liability Claim” made by, or any "Protective Indemnity Claim" brought against, any individual
        or entity or its subrogees or assignees:
        (1) that wholly or partially owns or operates you; or
        (2) in which you have an ownership interest in excess of 20 percent; or
        (3) that is controlled or operated by you; or
        (4) in which the "Insured" is an officer or director;




                                                                                                      STF-CPP-100-B CW (11/09)
                                                                                                                  Page 4 of 12
 Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 22 of 66 Page ID #:30


C.   the refusal to employ, termination of employment, coercion, evaluation, reassignment, discipline, wrongful
     infliction of emotional distress or other employment-related torts, harassment, discrimination, wrongful
     deprivation of a career opportunity, breach of any oral, written or implied employment contract or
     quasi-employment contract, violation of any federal, state or local statute, regulation, ordinance, common law or
     public policy concerning employment or discrimination in employment;
D.   any obligation for which the "Insured" or any carrier as insurer shall be liable under any workers' compensation,
     unemployment compensation, employer's liability, disability benefits law or under any similar law;
E.   any conduct by an individual, corporation, limited liability company, partnership or joint venture of which the
     "Insured" is a partner, director, officer, member, participant or employee, that is not designated in the
     Declarations, policy form, or endorsement as a "Insured", except that this exclusion shall not apply to the
     “Insured’s” legal liability resulting from performance of its responsibilities on behalf of the respective individual,
     corporation, limited liability company, partnership or joint venture;
F.   any express warranty or guarantee except to the extent such liability would have attached by law in the absence
     of such warranty or guarantee;
G.   liability of others assumed by an “Insured” or a “Design Professional” under any contract or agreement, unless
     such liability would have attached by law in the absence of such agreement because of a negligent act, error or
     omission of the “Design Professional” or “Insured” or any other person, entity or organization for whom the
     “Design Professional’ or “Insured” is legally responsible, and the liability arises out of the rendering of or failure
     to render “Professional Services”.
H.   any project that is insured under a project specific insurance policy, provided, however, that this exclusion shall
     not apply where your liability is found to be in excess of the limit of liability available under such project specific
     insurance policy which has been specifically included for excess coverage by endorsement to this policy;
I.   the design or manufacture of any goods or products which are sold or supplied by the “Insured”, the "Design
     Professional," or by others under license from the “Insured” or the "Design Professional";
J.   fines, penalties, and the multiple portion of multiplied damages;
K.   cost estimates being exceeded. This exclusion shall not apply to those “Damages” or “Losses” which arise out
     of a negligent act, error or omission in the rendering of or failure to render “Professional Services”;
L.   any dishonest, fraudulent, criminal, intentional or malicious act, error or omission or those of a knowingly
     wrongful nature, except that this exclusion shall not apply to an “Insured” who did not commit, participate in, or
     have knowledge of such conduct;
M.   the cost to repair or replace faulty workmanship in any construction, erection, fabrication, installation, assembly
     or manufacturing process performed or provided by an “Insured” or anyone for whom any “Insured” is legally
     responsible, including materials, parts or equipment furnished in connection therewith, including any
     workmanship which is not in accordance with the drawings and specifications with respect to any construction,
     erection, fabrication, installation, assembly or manufacturing process. This exclusion shall not apply to those
     “Damages” or “Losses” which result from a negligent act, error or omission in the rendering of or failure to
     render “Professional Services” by an “Insured” or others for whom the “Insured” is legally responsible;
N.   "Bodily Injury" and "Property Damage" arising out of job site safety, including the failure to protect any property
     or persons or the preparation or failure to prepare any safety precautions or procedures in connection with any
     project;
O.   attorney fees and related expenses incurred by you resulting from the investigation, adjustment, appeal or
     making of a "Protective Indemnity Claim" against a "Design Professional";
P.   with respect to a “Protective Indemnity Claim” only, any amount awarded by default judgment or other
     proceeding in which any "Design Professional" has failed to answer, plead and otherwise defend itself or
     indemnify you. However this exclusion shall not apply if the “Insured” cooperates with us to determine what the
     “Loss” would have been in the absence of such default judgment or other proceeding in which any “Design
     Professional” failed to answer, plead or otherwise defend itself;
Q.   a settlement which has been reached without our express written consent;




                                                                                                    STF-CPP-100-B CW (11/09)
                                                                                                                Page 5 of 12
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 23 of 66 Page ID #:31


    R.   war, invasion, act of foreign enemy, hostilities (whether war be declared or not), civil war, rebellion, revolution,
         insurrection or military or usurped power, strike, riot, civil commotion, or terrorism, including any act which is
         certified by the United States Secretary of the Treasury as an “act of terrorism”, as defined by the Terrorism
         Risk Insurance Act of 2002 or any amendment thereto;
    S.   “Bodily Injury” or “Property Damage” arising out of construction means, methods, techniques, sequences and
         procedures; and
    T.   any failure to prevent unauthorized access to or use of an electronic system or program, unless such
         unauthorized access arises out of a negligent act, error or omission in the rendering of or failure to render
         “Professional Services” by you or by any entity for which you are legally responsible.
IV. LIMITS OF LIABILITY
    A.   COVERAGE PART A
         1.   EACH PROFESSIONAL LIABILITY CLAIM LIMIT OF LIABILITY
              Our liability for each “Professional Liability Claim” including “Damages” and “Professional Liability Claim
              Expenses” shall not exceed the amount set out in the Declarations as Each “Professional Liability Claim”
              Limit of Liability - Coverage Part A. The available Each “Professional Liability Claim” Limit of Liability under
              the policy is reduced by the payment of “Damages” and “Professional Liability Claim Expenses”. We shall
              not be obligated to pay any “Damages” or “Professional Liability Claim Expenses” or undertake or continue
              the defense of any “Professional Liability Claim” after the Each “Professional Liability Claim” Limit of
              Liability has been tendered into court or exhausted by payment of “Damages” or “Professional Liability
              Claim Expenses”.
         2.   SELF INSURED RETENTION
              Our liability and obligation to you for “Damages” and “Professional Liability Claim Expenses” under
              Coverage Part A for each “Professional Liability Claim” shall attach excess of the Self Insured Retention –
              Coverage Part A stated in the Declarations. The Self Insured Retention shall apply to each "Professional
              Liability Claim".
    B.   COVERAGE PART B
         1.   EACH PROTECTIVE INDEMNITY CLAIM LIMIT OF LIABILITY
              Our liability for each “Protective Indemnity Claim” for “Loss” shall not exceed the amount set out in the
              Declarations as the Each “Protective Indemnity Claim” Limit of Liability - Coverage Part B. The available
              Each “Protective Indemnity Claim” Limit of Liability under the policy is reduced by the payment of “Loss” by
              us under this policy. We shall not be obligated to pay any “Loss” after the Each “Protective Indemnity
              Claim” Limit of Liability has been tendered into court or exhausted by payment of “Loss”.
         2.   SELF INSURED RETENTION
              Our liability and obligation to indemnify you for “Loss” under Coverage Part B attaches upon full payment of
              the amount(s) of the “Design Professional’s Insurance”. In the event the “Design Professional’s Insurance”
              is unavailable through either exhaustion of its limits or through the applicability of a valid exclusion under
              the “Design Professional’s Insurance” then our liability and obligation to indemnify you shall attach excess
              of the Self Insured Retention - Coverage Part B stated in the Declarations. The Self Insured Retention
              shall apply to each “Protective Indemnity Claim”.
    C.   AGGREGATE LIMIT OF LIABILITY
         Our total liability for all “Damages”, “Losses” and “Claim Expenses” under Coverage Parts A, B and any
         endorsed coverage parts combined shall not exceed the amount set forth in the Declarations as the Aggregate
         Limit of Liability. The available Aggregate Limit of Liability under the policy is reduced by the payment of
         “Damages”, “Losses” and “Claim Expenses”. We shall not be obligated to pay any “Damages”, “Losses”, or
         “Professional Liability Claims Expenses” after the Aggregate Limit of Liability has been tendered into court or
         exhausted by payments for “Damages”, “Losses” or “Claim Expenses”.




                                                                                                      STF-CPP-100-B CW (11/09)
                                                                                                                  Page 6 of 12
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 24 of 66 Page ID #:32


     D.   MULTIPLE INSUREDS, CLAIMS, CLAIMANTS AND POLICY PERIOD(S)
          1.   ONE LIMIT OF LIABILITY / SELF INSURED RETENTION
               The inclusion of more than one “Insured” in the making of a single “Claim” or “Protective Indemnity Claim”,
               or the bringing of multiple suits regarding the same negligent act, error or omission shall not increase our
               Limit of Liability; neither shall the making of “Claims” or the bringing of suits by more than one person or
               organization. Two or more “Claims” or “Protective Indemnity Claims” under Coverage Parts A, B and any
               endorsed coverage parts or a combination of Coverage Parts A, B, and any endorsed coverage parts,
               arising out of the same, interrelated, associated, repeated or continuous negligent act, error or omission or
               a series of related negligent acts, errors or omissions shall be treated as a single "Claim" and shall be
               subject to the same Limit of Liability and only one Self Insured Retention (if a single coverage part only), or
               one Limit of Liability and one Self Insured Retention for each applicable Coverage Part if multiple coverage
               parts are involved. Any payments under one Coverage Part shall not be recoverable under another
               Coverage Part.
          2.   TWO OR MORE POLICY PERIODS
               Any “Claim” or “Protective Indemnity Claim” which takes place over two or more “Policy Periods” shall be
               subject to only one Limit of Liability and one Self Insured Retention (if a single coverage part only). Any
               such “Claim” or “Protective Indemnity Claim” involving more than one Coverage Part shall be subject to
               only one Limit of Liability, and one Self Insured Retention per applicable coverage part. All such “Claims”
               or “Protective Indemnity Claims”, whenever made, shall be considered first made on the date on which the
               earliest “Claim” or “Protective Indemnity Claim” was first reported to us and the Limit of Liability and Self
               Insured Retention applicable to that “Policy Period” shall apply.
V.   CLAIM PROVISIONS
     A.   PROFESSIONAL LIABILITY CLAIMS AND OTHER "CLAIMS"
          1.   NOTICE OF CLAIM
               A.   In the event of a "Claim", prompt written notice containing particulars sufficient to identify you or any
                    "Insured" involved and reasonably obtainable information with respect to time, place and
                    circumstances, and the names and addresses of any injured parties and of available witnesses, shall
                    be given by or for you to us. Written notice must be provided to us no later than 60 days after the
                    expiration or termination of the policy or as provided under Optional Extended Reporting Period under
                    Section VI of this policy, if purchased. Your knowledge of a "Claim" shall be deemed to have occurred
                    when an individual acting in a capacity as legal counsel or risk manager, or a principal, partner,
                    director, or executive officer first learned of the "Claim".
               B.   No costs, charges or related "Claim Expenses" shall be incurred without our written consent, which
                    shall not be unreasonably withheld.
                    The “Insured” shall do nothing to prejudice our rights under this policy nor shall the “Insured” admit
                    liability or settle any "Claim" without our written consent. If we recommend a reasonable settlement of
                    a “Claim”, the “Insured” shall have the opportunity to concur, such concurrence not to be unreasonably
                    withheld. If we recommend a reasonable settlement of a “Claim”:
                    1.   for an amount within the Self Insured Retention and an “Insured” refuses to concur with such
                         reasonable settlement, then we shall not be liable for any “Damages” or “Claims Expenses" in
                         excess of the Self Insured Retention; or
                    2.   for a total amount in excess of the balance of the Self Insured Retention and the “Insured”
                         refuses to concur with such reasonable settlement acceptable to the claimant, then our liability for
                         “Damages” and “Claim Expenses” shall be limited to that portion of the recommended settlement
                         and the costs, charges and expenses incurred as of the date of an “Insured’s” refusal, which
                         exceed the Self Insured Retention and fall within the Limit of Liability.
               C.   The “Insured” shall assist and cooperate with us in the investigation, settlement and defense of all
                    "Claims" made against the “Insured” and upon our request shall authorize the release of records and
                    other information, secure and give evidence, attend hearings and trials and obtain the location of and
                    cooperation of witnesses.




                                                                                                      STF-CPP-100-B CW (11/09)
                                                                                                                  Page 7 of 12
Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 25 of 66 Page ID #:33


          D.   In the event that an “Insured” is entitled by law to select independent counsel to defend an “Insured” at
               our expense, the attorney’s fees and all other litigation expenses we must pay to that counsel are
               limited to the rates we actually pay to counsel we retain in the ordinary course of business in the
               defense of similar "Claims" in the community where the "Claim" arose or is being defended.
               Additionally, we may exercise the right to require that such counsel have certain minimum
               qualifications with respect to their legal competency including experience in defending "Claims" similar
               to the one pending against an “Insured” and to require such counsel to have errors and omissions
               insurance coverage. The “Insured” agrees that such counsel will respond to our request for
               information regarding the “Claim” in a timely manner. Furthermore, an “Insured” may at anytime, by
               its signed consent, waive its right to select independent counsel.
     2.   NOTICE OF CIRCUMSTANCE
          If during the “Policy Period”, the “Insured” becomes aware of an actual or alleged negligent act, error or
          omission which may be expected to give rise to a “Professional Liability Claim" or "Claim" under the policy,
          and the “Insured” provides written notice to us, prior to the expiration of the policy period and containing
          particulars sufficient to identify the “Insured” and reasonably obtainable information with respect to:
          A.   the time, place and explanation of the actual or alleged negligent act, error or omission including how
               the “Insured” first became aware of the actual or alleged negligent act, error or omission;
          B.   the name and addresses of any injured parties and available witnesses and the "Damages" which
               have or may result from such actual or alleged negligent act, error or omission;
          C.   any and all investigative or engineering reports, data or information about the actual or alleged
               negligent act, error or omission, or “Damages"; and
          D.   copies of any relevant contracts between the “Insured” and its client for “Professional Services".
          then any "Claim", for which coverage is provided by this policy, that may be made against the “Insured”
          shall be deemed for the purposes of this insurance to have been made on the date on which the notice was
          given to us. In such event the “Insured” agrees to cooperate fully with us and do all things reasonably
          necessary to allow us to investigate such notice of circumstance and mitigate to the fullest extent possible
          the resultant "Damages", if any. At our sole discretion, we may elect to investigate any circumstance
          which is reported to us. Any costs associated with the investigation of a circumstance prior to a "Claim"
          being made will not be considered "Claim Expenses". These costs shall not be applied toward reducing
          the applicable Self Insured Retention and are in addition to the Limit of Liability and shall be borne by us.
B.   PROTECTIVE INDEMNITY CLAIM PROVISION
     1.   NOTICE OF PROTECTIVE INDEMNITY CLAIM
          A.   As a condition precedent to Coverage Part B of this policy, you shall provide us with notice in writing
               of a "Protective Indemnity Claim" at the same time that you make such "Protective Indemnity Claim"
               against a "Design Professional".
          B.   We have the right but not the duty to participate in the investigation or settlement of a "Protective
               Indemnity Claim" covered under Coverage Part B of this policy. Whether or not we choose to
               participate in the settlement of a "Protective Indemnity Claim," the "Insured" shall make every effort,
               within reason, to obtain from the "Design Professional(s)" party to such settlement an assignment of
               any rights said "Design Professional(s)" has against any other "Design Professional(s)" to pursue
               claims that are related to or arising from the negligent act(s), error(s) or omission(s) included in the
               "Professional Indemnity Claim" and settlement.
          C.   You shall not enter negotiations or settlement of a "Protective Indemnity Claim" with the "Design
               Professional" or its representative involving any part of the Limit of Liability of this policy without our
               knowledge and consent to such negotiation and settlement. However, we may, in writing, and at our
               election, waive our participation and consent to such negotiation and settlement.
          D.   If we elect to participate in the negotiation and settlement of a "Protective Indemnity Claim", you shall
               fully cooperate with our requests for information. Your duty to cooperate with us is a condition
               precedent to coverage under this policy and your failure to cooperate shall relieve us of our obligations
               and liability under this policy.




                                                                                                  STF-CPP-100-B CW (11/09)
                                                                                                              Page 8 of 12
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 26 of 66 Page ID #:34


   N.   "Professional Liability Claim Expenses" means "Claim Expenses".
   O.   “Professional Services” for purposes of Coverage Part A means those services that the “Insured”, a “Design
        Professional”, or an entity providing services under contract to a “Design Professional”, are qualified to perform
        for others in their capacity as an architect, engineer, landscape architect, land surveyor or planner, construction
        manager, a LEED accredited professional, interior designer/space planner, or as specifically described by
        endorsement to this policy. "Professional Services" includes "Technology Services" to the extent provided in
        conjunction with the aforementioned capacities.
   P.   “Professional Services” for purposes of Coverage Part B means those services that the “Design Professional”,
        or an entity providing services under contract to the “Design Professional”, are qualified to perform for others in
        their capacity as an architect, engineer, landscape architect, land surveyor or planner, construction manager, a
        LEED accredited professional, interior designer/space planner, or as specifically described by endorsement to
        this policy. "Professional Services" includes "Technology Services" to the extent provided in conjunction with
        the aforementioned capacities.
   Q.   "Property Damage" means:
        1.   Physical injury to or destruction of tangible property including the resulting loss of use thereof;
        2.   Loss of use of tangible property that has not been physically injured or destroyed.
   R.   "Protective Indemnity Claim" means a written demand by you against a "Design Professional(s)" under contract
        with you seeking a remedy from or alleging liability or responsibility on the part of such “Design Professional(s)”
        for “Loss” arising out of the “Design Professional’s” rendering of or failure to render “Professional Services”.
   S.   "Retroactive Date" means the date on or after which any alleged or actual negligent act, error or omission giving
        rise to a "Protective Indemnity Claim", "Professional Liability Claim", “Loss” or “Damage” must have taken place
        in order to be considered for coverage under this policy, as stated in Item 5 of the Declarations. If none is
        shown, the retroactive date will be the effective date of the first policy issued by us to you.
   T.   “Technology Services” means the activities performed by or on behalf of the Insured including:
        a.   website design or website programming;
        b.   database design or database management, data warehousing, data application hosting;
        c.   hosting, management or maintenance of websites designed or programmed;
        d.   maintenance of computer programs, applications or systems designed or developed;
        e.   design and development of computer software programs, applications or systems;
        f.   creation, maintenance, use, modification, alteration, and input into any digital model or digital
             representation, including, for example, a Building Information Model (BIM) or other computer assisted
             design or drafting system or program; and
        g.   electronic data transmission in conjunction with any of the above.
III. EXCLUSIONS
   This insurance does not apply to “Damages” or “Losses” based upon or arising out of:
   A.   any “Professional Liability Claim” or "Protective Indemnity Claim" made by any "Insured" against any other
        "Insured;"
   B.   any “Professional Liability Claim” made by, or any "Protective Indemnity Claim" brought against, any individual
        or entity or its subrogees or assignees:
        (1) that wholly or partially owns or operates you; or
        (2) in which you have an ownership interest in excess of 20 percent; or
        (3) that is controlled or operated by you; or
        (4) in which the "Insured" is an officer or director;




                                                                                                      STF-CPP-100-B CW (11/09)
                                                                                                                  Page 4 of 12
 Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 27 of 66 Page ID #:35


C.   the refusal to employ, termination of employment, coercion, evaluation, reassignment, discipline, wrongful
     infliction of emotional distress or other employment-related torts, harassment, discrimination, wrongful
     deprivation of a career opportunity, breach of any oral, written or implied employment contract or
     quasi-employment contract, violation of any federal, state or local statute, regulation, ordinance, common law or
     public policy concerning employment or discrimination in employment;
D.   any obligation for which the "Insured" or any carrier as insurer shall be liable under any workers' compensation,
     unemployment compensation, employer's liability, disability benefits law or under any similar law;
E.   any conduct by an individual, corporation, limited liability company, partnership or joint venture of which the
     "Insured" is a partner, director, officer, member, participant or employee, that is not designated in the
     Declarations, policy form, or endorsement as a "Insured", except that this exclusion shall not apply to the
     “Insured’s” legal liability resulting from performance of its responsibilities on behalf of the respective individual,
     corporation, limited liability company, partnership or joint venture;
F.   any express warranty or guarantee except to the extent such liability would have attached by law in the absence
     of such warranty or guarantee;
G.   liability of others assumed by an “Insured” or a “Design Professional” under any contract or agreement, unless
     such liability would have attached by law in the absence of such agreement because of a negligent act, error or
     omission of the “Design Professional” or “Insured” or any other person, entity or organization for whom the
     “Design Professional’ or “Insured” is legally responsible, and the liability arises out of the rendering of or failure
     to render “Professional Services”.
H.   any project that is insured under a project specific insurance policy, provided, however, that this exclusion shall
     not apply where your liability is found to be in excess of the limit of liability available under such project specific
     insurance policy which has been specifically included for excess coverage by endorsement to this policy;
I.   the design or manufacture of any goods or products which are sold or supplied by the “Insured”, the "Design
     Professional," or by others under license from the “Insured” or the "Design Professional";
J.   fines, penalties, and the multiple portion of multiplied damages;
K.   cost estimates being exceeded. This exclusion shall not apply to those “Damages” or “Losses” which arise out
     of a negligent act, error or omission in the rendering of or failure to render “Professional Services”;
L.   any dishonest, fraudulent, criminal, intentional or malicious act, error or omission or those of a knowingly
     wrongful nature, except that this exclusion shall not apply to an “Insured” who did not commit, participate in, or
     have knowledge of such conduct;
M.   the cost to repair or replace faulty workmanship in any construction, erection, fabrication, installation, assembly
     or manufacturing process performed or provided by an “Insured” or anyone for whom any “Insured” is legally
     responsible, including materials, parts or equipment furnished in connection therewith, including any
     workmanship which is not in accordance with the drawings and specifications with respect to any construction,
     erection, fabrication, installation, assembly or manufacturing process. This exclusion shall not apply to those
     “Damages” or “Losses” which result from a negligent act, error or omission in the rendering of or failure to
     render “Professional Services” by an “Insured” or others for whom the “Insured” is legally responsible;
N.   "Bodily Injury" and "Property Damage" arising out of job site safety, including the failure to protect any property
     or persons or the preparation or failure to prepare any safety precautions or procedures in connection with any
     project;
O.   attorney fees and related expenses incurred by you resulting from the investigation, adjustment, appeal or
     making of a "Protective Indemnity Claim" against a "Design Professional";
P.   with respect to a “Protective Indemnity Claim” only, any amount awarded by default judgment or other
     proceeding in which any "Design Professional" has failed to answer, plead and otherwise defend itself or
     indemnify you. However this exclusion shall not apply if the “Insured” cooperates with us to determine what the
     “Loss” would have been in the absence of such default judgment or other proceeding in which any “Design
     Professional” failed to answer, plead or otherwise defend itself;
Q.   a settlement which has been reached without our express written consent;




                                                                                                    STF-CPP-100-B CW (11/09)
                                                                                                                Page 5 of 12
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 28 of 66 Page ID #:36


    R.   war, invasion, act of foreign enemy, hostilities (whether war be declared or not), civil war, rebellion, revolution,
         insurrection or military or usurped power, strike, riot, civil commotion, or terrorism, including any act which is
         certified by the United States Secretary of the Treasury as an “act of terrorism”, as defined by the Terrorism
         Risk Insurance Act of 2002 or any amendment thereto;
    S.   “Bodily Injury” or “Property Damage” arising out of construction means, methods, techniques, sequences and
         procedures; and
    T.   any failure to prevent unauthorized access to or use of an electronic system or program, unless such
         unauthorized access arises out of a negligent act, error or omission in the rendering of or failure to render
         “Professional Services” by you or by any entity for which you are legally responsible.
IV. LIMITS OF LIABILITY
    A.   COVERAGE PART A
         1.   EACH PROFESSIONAL LIABILITY CLAIM LIMIT OF LIABILITY
              Our liability for each “Professional Liability Claim” including “Damages” and “Professional Liability Claim
              Expenses” shall not exceed the amount set out in the Declarations as Each “Professional Liability Claim”
              Limit of Liability - Coverage Part A. The available Each “Professional Liability Claim” Limit of Liability under
              the policy is reduced by the payment of “Damages” and “Professional Liability Claim Expenses”. We shall
              not be obligated to pay any “Damages” or “Professional Liability Claim Expenses” or undertake or continue
              the defense of any “Professional Liability Claim” after the Each “Professional Liability Claim” Limit of
              Liability has been tendered into court or exhausted by payment of “Damages” or “Professional Liability
              Claim Expenses”.
         2.   SELF INSURED RETENTION
              Our liability and obligation to you for “Damages” and “Professional Liability Claim Expenses” under
              Coverage Part A for each “Professional Liability Claim” shall attach excess of the Self Insured Retention –
              Coverage Part A stated in the Declarations. The Self Insured Retention shall apply to each "Professional
              Liability Claim".
    B.   COVERAGE PART B
         1.   EACH PROTECTIVE INDEMNITY CLAIM LIMIT OF LIABILITY
              Our liability for each “Protective Indemnity Claim” for “Loss” shall not exceed the amount set out in the
              Declarations as the Each “Protective Indemnity Claim” Limit of Liability - Coverage Part B. The available
              Each “Protective Indemnity Claim” Limit of Liability under the policy is reduced by the payment of “Loss” by
              us under this policy. We shall not be obligated to pay any “Loss” after the Each “Protective Indemnity
              Claim” Limit of Liability has been tendered into court or exhausted by payment of “Loss”.
         2.   SELF INSURED RETENTION
              Our liability and obligation to indemnify you for “Loss” under Coverage Part B attaches upon full payment of
              the amount(s) of the “Design Professional’s Insurance”. In the event the “Design Professional’s Insurance”
              is unavailable through either exhaustion of its limits or through the applicability of a valid exclusion under
              the “Design Professional’s Insurance” then our liability and obligation to indemnify you shall attach excess
              of the Self Insured Retention - Coverage Part B stated in the Declarations. The Self Insured Retention
              shall apply to each “Protective Indemnity Claim”.
    C.   AGGREGATE LIMIT OF LIABILITY
         Our total liability for all “Damages”, “Losses” and “Claim Expenses” under Coverage Parts A, B and any
         endorsed coverage parts combined shall not exceed the amount set forth in the Declarations as the Aggregate
         Limit of Liability. The available Aggregate Limit of Liability under the policy is reduced by the payment of
         “Damages”, “Losses” and “Claim Expenses”. We shall not be obligated to pay any “Damages”, “Losses”, or
         “Professional Liability Claims Expenses” after the Aggregate Limit of Liability has been tendered into court or
         exhausted by payments for “Damages”, “Losses” or “Claim Expenses”.




                                                                                                      STF-CPP-100-B CW (11/09)
                                                                                                                  Page 6 of 12
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 29 of 66 Page ID #:37


     D.   MULTIPLE INSUREDS, CLAIMS, CLAIMANTS AND POLICY PERIOD(S)
          1.   ONE LIMIT OF LIABILITY / SELF INSURED RETENTION
               The inclusion of more than one “Insured” in the making of a single “Claim” or “Protective Indemnity Claim”,
               or the bringing of multiple suits regarding the same negligent act, error or omission shall not increase our
               Limit of Liability; neither shall the making of “Claims” or the bringing of suits by more than one person or
               organization. Two or more “Claims” or “Protective Indemnity Claims” under Coverage Parts A, B and any
               endorsed coverage parts or a combination of Coverage Parts A, B, and any endorsed coverage parts,
               arising out of the same, interrelated, associated, repeated or continuous negligent act, error or omission or
               a series of related negligent acts, errors or omissions shall be treated as a single "Claim" and shall be
               subject to the same Limit of Liability and only one Self Insured Retention (if a single coverage part only), or
               one Limit of Liability and one Self Insured Retention for each applicable Coverage Part if multiple coverage
               parts are involved. Any payments under one Coverage Part shall not be recoverable under another
               Coverage Part.
          2.   TWO OR MORE POLICY PERIODS
               Any “Claim” or “Protective Indemnity Claim” which takes place over two or more “Policy Periods” shall be
               subject to only one Limit of Liability and one Self Insured Retention (if a single coverage part only). Any
               such “Claim” or “Protective Indemnity Claim” involving more than one Coverage Part shall be subject to
               only one Limit of Liability, and one Self Insured Retention per applicable coverage part. All such “Claims”
               or “Protective Indemnity Claims”, whenever made, shall be considered first made on the date on which the
               earliest “Claim” or “Protective Indemnity Claim” was first reported to us and the Limit of Liability and Self
               Insured Retention applicable to that “Policy Period” shall apply.
V.   CLAIM PROVISIONS
     A.   PROFESSIONAL LIABILITY CLAIMS AND OTHER "CLAIMS"
          1.   NOTICE OF CLAIM
               A.   In the event of a "Claim", prompt written notice containing particulars sufficient to identify you or any
                    "Insured" involved and reasonably obtainable information with respect to time, place and
                    circumstances, and the names and addresses of any injured parties and of available witnesses, shall
                    be given by or for you to us. Written notice must be provided to us no later than 60 days after the
                    expiration or termination of the policy or as provided under Optional Extended Reporting Period under
                    Section VI of this policy, if purchased. Your knowledge of a "Claim" shall be deemed to have occurred
                    when an individual acting in a capacity as legal counsel or risk manager, or a principal, partner,
                    director, or executive officer first learned of the "Claim".
               B.   No costs, charges or related "Claim Expenses" shall be incurred without our written consent, which
                    shall not be unreasonably withheld.
                    The “Insured” shall do nothing to prejudice our rights under this policy nor shall the “Insured” admit
                    liability or settle any "Claim" without our written consent. If we recommend a reasonable settlement of
                    a “Claim”, the “Insured” shall have the opportunity to concur, such concurrence not to be unreasonably
                    withheld. If we recommend a reasonable settlement of a “Claim”:
                    1.   for an amount within the Self Insured Retention and an “Insured” refuses to concur with such
                         reasonable settlement, then we shall not be liable for any “Damages” or “Claims Expenses" in
                         excess of the Self Insured Retention; or
                    2.   for a total amount in excess of the balance of the Self Insured Retention and the “Insured”
                         refuses to concur with such reasonable settlement acceptable to the claimant, then our liability for
                         “Damages” and “Claim Expenses” shall be limited to that portion of the recommended settlement
                         and the costs, charges and expenses incurred as of the date of an “Insured’s” refusal, which
                         exceed the Self Insured Retention and fall within the Limit of Liability.
               C.   The “Insured” shall assist and cooperate with us in the investigation, settlement and defense of all
                    "Claims" made against the “Insured” and upon our request shall authorize the release of records and
                    other information, secure and give evidence, attend hearings and trials and obtain the location of and
                    cooperation of witnesses.




                                                                                                      STF-CPP-100-B CW (11/09)
                                                                                                                  Page 7 of 12
Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 30 of 66 Page ID #:38


          D.   In the event that an “Insured” is entitled by law to select independent counsel to defend an “Insured” at
               our expense, the attorney’s fees and all other litigation expenses we must pay to that counsel are
               limited to the rates we actually pay to counsel we retain in the ordinary course of business in the
               defense of similar "Claims" in the community where the "Claim" arose or is being defended.
               Additionally, we may exercise the right to require that such counsel have certain minimum
               qualifications with respect to their legal competency including experience in defending "Claims" similar
               to the one pending against an “Insured” and to require such counsel to have errors and omissions
               insurance coverage. The “Insured” agrees that such counsel will respond to our request for
               information regarding the “Claim” in a timely manner. Furthermore, an “Insured” may at anytime, by
               its signed consent, waive its right to select independent counsel.
     2.   NOTICE OF CIRCUMSTANCE
          If during the “Policy Period”, the “Insured” becomes aware of an actual or alleged negligent act, error or
          omission which may be expected to give rise to a “Professional Liability Claim" or "Claim" under the policy,
          and the “Insured” provides written notice to us, prior to the expiration of the policy period and containing
          particulars sufficient to identify the “Insured” and reasonably obtainable information with respect to:
          A.   the time, place and explanation of the actual or alleged negligent act, error or omission including how
               the “Insured” first became aware of the actual or alleged negligent act, error or omission;
          B.   the name and addresses of any injured parties and available witnesses and the "Damages" which
               have or may result from such actual or alleged negligent act, error or omission;
          C.   any and all investigative or engineering reports, data or information about the actual or alleged
               negligent act, error or omission, or “Damages"; and
          D.   copies of any relevant contracts between the “Insured” and its client for “Professional Services".
          then any "Claim", for which coverage is provided by this policy, that may be made against the “Insured”
          shall be deemed for the purposes of this insurance to have been made on the date on which the notice was
          given to us. In such event the “Insured” agrees to cooperate fully with us and do all things reasonably
          necessary to allow us to investigate such notice of circumstance and mitigate to the fullest extent possible
          the resultant "Damages", if any. At our sole discretion, we may elect to investigate any circumstance
          which is reported to us. Any costs associated with the investigation of a circumstance prior to a "Claim"
          being made will not be considered "Claim Expenses". These costs shall not be applied toward reducing
          the applicable Self Insured Retention and are in addition to the Limit of Liability and shall be borne by us.
B.   PROTECTIVE INDEMNITY CLAIM PROVISION
     1.   NOTICE OF PROTECTIVE INDEMNITY CLAIM
          A.   As a condition precedent to Coverage Part B of this policy, you shall provide us with notice in writing
               of a "Protective Indemnity Claim" at the same time that you make such "Protective Indemnity Claim"
               against a "Design Professional".
          B.   We have the right but not the duty to participate in the investigation or settlement of a "Protective
               Indemnity Claim" covered under Coverage Part B of this policy. Whether or not we choose to
               participate in the settlement of a "Protective Indemnity Claim," the "Insured" shall make every effort,
               within reason, to obtain from the "Design Professional(s)" party to such settlement an assignment of
               any rights said "Design Professional(s)" has against any other "Design Professional(s)" to pursue
               claims that are related to or arising from the negligent act(s), error(s) or omission(s) included in the
               "Professional Indemnity Claim" and settlement.
          C.   You shall not enter negotiations or settlement of a "Protective Indemnity Claim" with the "Design
               Professional" or its representative involving any part of the Limit of Liability of this policy without our
               knowledge and consent to such negotiation and settlement. However, we may, in writing, and at our
               election, waive our participation and consent to such negotiation and settlement.
          D.   If we elect to participate in the negotiation and settlement of a "Protective Indemnity Claim", you shall
               fully cooperate with our requests for information. Your duty to cooperate with us is a condition
               precedent to coverage under this policy and your failure to cooperate shall relieve us of our obligations
               and liability under this policy.




                                                                                                  STF-CPP-100-B CW (11/09)
                                                                                                              Page 8 of 12
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 31 of 66 Page ID #:39


        2.   NOTICE OF CIRCUMSTANCE
             Circumstance reporting is not afforded under this coverage part.
   C.   REPORTING PROVISIONS
        All notices of "Claims" or circumstances, and “Protective Indemnity Claims” are to be submitted to the following
        address:
                               Construction Professional Liability Claims Manager
                       Steadfast Insurance Company (or name of insurance company used)
                                                P.O. Box 968041
                                             Schaumburg, IL 60196
                                           Fax number: (866) 255-2962
                                    New matters may also be reported via email at:
                          USZ_Zurich_Construction_Professional_Claims@zurichna.com
VI. EXTENDED REPORTING PERIOD
   A.   AUTOMATIC EXTENDED REPORTING PERIOD
        If we or you terminate or non-renew this insurance for any reason, other than nonpayment of premium or your
        failure to comply with any term or condition, or your fraud or material misrepresentation, you shall be entitled to
        a period of sixty (60) days from the date of policy termination to report "Professional Liability Claims" or "Claims"
        which are made against you prior to such termination date. This Automatic Extended Reporting Period may not
        be canceled by us and does not require the payment of an additional premium. This Automatic Extended
        Reporting Period shall be included within the Optional Extended Reporting Period if such is purchased.
   B.   OPTIONAL EXTENDED REPORTING PERIOD
        If we or you terminate or non-renew this insurance for any reason, other than nonpayment of premium or your
        failure to comply with any term or condition, or your fraud or material misrepresentation, upon the payment of an
        additional premium, you shall have the option to:
        a)   extend the period by which a "Professional Liability Claim" or "Claim" can be made against you and
             reported to us; and
        b)   extend the period by which a "Protective Indemnity Claim" can be brought by you against a "Design
             Professional" and reported to us.
        Selection of the Optional Reporting Period will include the extension of both a) and b) noted above.
        “Professional Liability Claims” or "Claims" must be made and reported within the “Policy Period” or the Optional
        Extended Reporting Period, provided that the negligent act, error or omission giving rise to the "Professional
        Liability Claims" or "Claims", occurred on or after the Retroactive Date, if any and before the end of the “Policy
        Period”.
        “Protective Indemnity Claims” first made by you against a “Design Professional” and reported in writing to us
        during the “Policy Period” or the Optional Extended Reporting Period; provided that the negligent act, error or
        omission arises out of “Professional Services” performed for you by the “Design Professional” and has occurred
        on or after the Retroactive Date, if any and before the end of the “Policy Period”.
        The premium for the Optional Extended Reporting Period shall be determined by charging (1) 100% of the
        annual premium for twelve (12) months, (2) 150% for twenty-four (24) months, or (3) 200% for thirty-six (36)
        months. The purchase of an Optional Extended Reporting Period shall be endorsed herein.
        Your right to purchase the Optional Extended Reporting Period must be exercised by notice in writing not later
        than thirty (30) days after the cancellation or termination date of this policy. Effective notice must indicate the
        total Optional Extended Reporting Period desired and must include payment of premium for such period. If
        such notice and the premium are not mailed to us within thirty (30) days, then you shall not at a later date be
        entitled to purchase an Optional Extended Reporting Period.
        At the commencement of any Optional Extended Reporting Period, the entire premium shall be deemed fully
        earned, and in the event you terminate the Optional Extended Reporting Period before its term for any reason,
        we shall not be obligated to return to you any portion of the premium.




                                                                                                     STF-CPP-100-B CW (11/09)
                                                                                                                 Page 9 of 12
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 32 of 66 Page ID #:40


        The fact that the period during which "Professional Liability Claims", "Claims", and "Protective Indemnity Claims"
        can be reported to us is extended by virtue of the Optional Extended Reporting Period shall not in any way
        increase the Limit of Liability of this policy.
VII. CONDITIONS
   A.   ACTION AGAINST US
        1.   As to Coverage A and any coverage parts otherwise defined by endorsement to this policy, no action shall
             lie against us unless, as a condition precedent thereto, there shall have been full compliance with all of the
             terms and conditions of this policy, and both your liability and the amount of your obligations to pay has
             been finally determined either by judgment against you after an actual trial or by your written agreement
             with the claimant or the claimant's legal representative with our prior approval.
             Any person or organization or the legal representative thereof who has secured such judgment or written
             agreement shall thereafter be entitled to recover under this policy to the extent of the insurance afforded by
             this policy. No person or organization shall have any right under this policy to join us as a party to any
             action against you to determine your liability, nor shall we be impleaded by you or your legal representative.
        2.   As to Coverage B, no legal action may be brought against us until there has been full compliance with all
             the terms and conditions of this policy and both the “Design Professional’s” liability and the amount of the
             “Design Professional’s” obligations to pay have been finally determined either by judgment against the
             “Design Professional” after an actual trial, adjudication or arbitration or by your written agreement with the
             “Design Professional” with our prior approval.
             No person or organization has a right under this policy to bring us into any action to determine our liability
             or the "Design Professional's" liability.
   B.   ASSIGNMENT
        Assignment of interest under this policy shall not bind us without our express written consent.
   C.   AUDIT AND INSPECTION
        We shall be permitted upon reasonable prior notice to audit the “Insured’s” final books and records at any time
        during the “Policy Period” and within three years after the final termination of this policy, as far as they relate to
        the subject matter of this policy. We shall also be permitted upon reasonable prior notice to inspect, sample
        and monitor on a continuing basis the “Insured’s” operations. Neither our right to make inspections, sample and
        monitor nor the actual undertaking thereof nor any report thereon shall constitute an undertaking, on behalf of
        us or others, to determine or warrant that operations are safe, healthful or conform to acceptable engineering
        practice or are in compliance with any law, rule or regulation.
   D.   BANKRUPTCY
        The "Named Insured's" bankruptcy or insolvency shall not relieve us of our obligations under this policy. Your
        bankruptcy, insolvency, inability to pay, failure to pay, or refusal to pay the Self Insured Retention will not
        increase our obligations under this policy. In the event there is insurance, whether or not applicable to a
        "Professional Liability Claim" or "Protective Indemnity Claim" within a Self Insured Retention, you will continue to
        be responsible for the full amount of the applicable Self Insured Retention before limits of insurance under this
        policy apply. In no case will we be required to pay the Self Insured Retention or any portion thereof. Our
        obligations will attach only when the entire amount of the applicable Self Insured Retention has been paid and
        then only in excess of the Self Insured Retention and not in excess of the Limits of Insurance adjusted for any
        reduction in the aggregate limit of our liability.
   E.   CANCELLATION
        1.   The policy may only be canceled by us for any of the following reasons:
             a.   Non-payment of premium;
             b.   A material misrepresentation or concealment of facts; or
             c.   A material breach of any provision of the policy.




                                                                                                      STF-CPP-100-B CW (11/09)
                                                                                                                  Page 10 of 12
 Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 33 of 66 Page ID #:41


          If this policy is canceled by us, notice of cancellation will be sent in writing to the “Named Insured”, at the
          address indicated on the Declarations. We will provide such written notice at least thirty (30) days prior to
          the date such cancellation is to take effect.
          The effective date and hour of cancellation will be stated in such notice. Cancellation by us also cancels
          the Extended Reporting Period. The “Policy Period”, the Automatic Extended Reporting Period and the
          Optional Extended Reporting Period will end on that date. If we cancel for the reason specified in 1a, there
          shall be no return premium. If we cancel for reasons stated in 1b. or 1c., the earned premium shall be
          computed pro-rata of the policy term premium. Payment of any return premium shall not be a condition of
          cancellation.
     2.   You may cancel this policy by surrendering to us, or by mailing to us, written notice requesting cancellation
          and stating when thereafter such cancellation shall take effect. If canceled by you, we shall retain the
          customary short rate proportion of the premium.
     3.   It is agreed that this policy will automatically terminate upon your acquisition by another entity or your
          merger into another entity, such that the "Named Insured" is not the surviving entity, or your consolidation
          with another entity, or the acquisition of substantially all of your assets by another entity.
F.   CHANGES
     The terms and conditions of this policy may only be altered by an endorsement issued by us.
G. CHOICE OF LAW AND JURISDICTION
     In the event an "Insured" and we dispute the meaning, interpretation or operation of any term, condition,
     definition or provision of this policy resulting in litigation, arbitration or other form of dispute resolution, the
     "Insured" agrees with us that the law of the State of New York shall apply without giving effect to any conflicts or
     choice of law principles. In the event an "Insured" and we agree to resolve any dispute by arbitration, any such
     arbitration shall be in accordance with the Commercial Arbitration Rules of the American Arbitration Association.
H.   DESIGN PROFESSIONAL INSURANCE
     You shall require that each Design Professional with whom you have a written contract initially evidence
     professional liability insurance.
I.   LIMITATION OF LIABILITY
     As respects Coverage Part B, the Insured shall not, without our express written authorization, accept any
     limitation of liability clause in a contract between the “Insured” and a “Design Professional” other than to limit the
     Design Professional’s liability to the amount of the insurance specified by contract.
J.   OTHER INSURANCE
     Where other insurance is available to the “Insured” in addition to the "Design Professional's Insurance" for
     "Damages" or “Losses” covered under this policy, our obligation to the “Insured” is as follows:
     1.   This insurance shall apply as excess over any other applicable insurance be it primary or excess.
     2.   Where this insurance is excess over any other valid and collectible insurance, we will pay only our share of
          the amount of "Damages" or “Losses” if any, that exceeds the total amount that all such other insurance
          would pay for the "Damages" or “Losses” in the absence of this insurance.
     3.   If other policies of insurance have been issued to the "Design Professional" which provide similar coverage
          for a "Claim" under this policy, in whole or in part, this policy shall apply in excess of those policies and this
          policy shall not contribute with such policies.
     This provision shall not apply if other insurance is purchased by you specifically as excess of this insurance.
K.   REPRESENTATIONS
     By acceptance of this policy, you agree that the statements in the application and its attachments are your
     agreements and representations, that this policy is issued in reliance upon the truth of such representations,
     and that this policy, its Declarations and endorsements embody all agreements existing between you and us
     relating to this insurance.




                                                                                                    STF-CPP-100-B CW (11/09)
                                                                                                                Page 11 of 12
Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 34 of 66 Page ID #:42


L.   SEVERABILITY
     Except with respect to the Limit of Liability, and any rights or duties specifically assigned to you, this insurance
     applies:
     1.   as if each “Named Insured” were the only “Named Insured”, and
     2    separately to each "Insured" against whom a "Professional Liability Claim" is made.
     Misrepresentation, concealment, breach of condition or violation of any duty under this policy by one "Insured"
     shall not prejudice the interest or coverage of another "Insured" under this policy.
M. SOLE AGENT
     If there is more than one "Insured" named in this policy, the first “Named Insured” shall act on behalf of all
     "Insureds" for all purposes, including but not limited to the payment or return of premium, payment of any self
     insured retention, receipt and acceptance of any endorsement issued to form a part of this policy, complying
     with all applicable claims provisions, giving and receiving notice of cancellation or nonrenewal, and the exercise
     of the rights provided in the Extended Reporting Period or Subrogation clause.
N.   SUBROGATION AND TRANSFER OF RIGHTS OF RECOVERY
     If we make any payment under this policy, we shall be subrogated to all your rights against any person or
     organization, including the right to participate with the "Insured" in the exercise of all the "Insured's" rights of
     recovery. You shall execute and deliver instruments and papers to us and do whatever else is necessary to
     secure such rights. With respect to a "Protective Indemnity Claim," this includes a written transfer to us of any
     assignment(s) of rights obtained under section V. CLAIM PROVISIONS, B. PROTECTIVE INDEMNITY CLAIM
     PROVISIONS, paragraph 1.B. if the "Insured" has elected not to pursue same in furtherance of its "Protective
     Indemnity Claim". An "Insured" shall do nothing to prejudice such rights as described in this paragraph.
     We shall not exercise any such rights against any persons, firms or corporations included in the definition of an
     "Insured" or against your clients if, prior to a "Professional Liability Claim," a waiver of subrogation was so
     required and accepted under a specific contractual undertaking by you.
     Any recovery obtained through subrogation, after expenses incurred in such subrogation are deducted by the
     party bearing the expense, reimbursement will be made in the following order:
     1.   First, to any interest who has paid any amount in excess of the Limit of Liability provided under this policy;
     2.   next, to us; and
     3.   then to any interest as are entitled to claim the remainder, if any.
O. POLICY TERRITORY
     Coverage under this policy shall extend anywhere in the world, to the extent permitted by law.




                                                                                                  STF-CPP-100-B CW (11/09)
                                                                                                              Page 12 of 12
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 35 of 66 Page ID #:43
Endorsement # 01




Modified Retroactive Dates


     Policy No.    Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.         Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07      10/01/2018          10/01/2019          10/01/2018             18232000    ----------        ----------
Named Insured and Mailing Address:                                        Producer:
LEND LEASE AMERICAS                                                       MARSH USA INC
200 PARK AVENUE                                                           1166 AVENUE OF THE AMERICAS
9TH FL                                                                    NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
Contractor’s Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium already charged, it is hereby understood and agreed that Item 5 of the Declarations page
is amended to read as follows:
                              Coverage Part A:                                 01/02/1900
                              Coverage Part B:                                 06/30/2011
                              Rectification Coverage:                          06/30/2011




                                                                                                         STF-CPP-150-A CW (04/10)
                                                                                                                       Page 1 of 1
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 36 of 66 Page ID #:44
Endorsement # 02




Additional Named Insured(s)


     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer      Add'l Prem.        Return Prem.

 EOC 9487862-07        10/01/2018          10/01/2019          10/01/2018         18232000        ----------       ----------
Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy

In consideration of the premium charged, it is agreed that Item 1. of the DECLARATIONS is amended to include the
following:

Lend Lease (US) Healthcare Development Inc. Solely with respect to this Additional Named Insured, a sub-limit of
liability of $2,000,000 each "Claim"/$2,000,000 Aggregate Limit of Liability applies. This sub-limit shall not operate to
increase our Limits of Liability as set forth in in Item 2. of the Declarations to this policy. Additionally, and solely with
respect to this Additional Named Insured, the definition of "Professional Services" is amended to include: real estate
construction management; property management and; leasing services for others for a fee



ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                          STF-CPP-107-A CW (05/09)
                                                                                                                        Page 1 of 1
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 37 of 66 Page ID #:45
Endorsement # 03




Choice of Counsel – Coverage Part A


     Policy No.    Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07      10/01/2018          10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                        Producer:
LEND LEASE AMERICAS                                                       MARSH USA INC
200 PARK AVENUE                                                           1166 AVENUE OF THE AMERICAS
9TH FL                                                                    NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is hereby understood and agreed that the following changes to the policy are
made:
Section I. INSURING AGREEMENT – COVERAGE PART A – CONTRACTOR'S PROFESSIONAL LIABILITY
COVERAGE, Item B. DEFENSE IS DELETED IN ITS ENTIRETY AND REPLACED AS FOLLOWS:
B. DEFENSE
   We have the right and duty to defend with counsel of our choice, any "Professional Liability Claim" seeking
   "Damages" to which Coverage Part A of this insurance applies. However, the "Insured" shall, subject to our consent
   which shall not be unreasonably withheld, have the right and the duty to designate legal counsel for the investigation,
   defense or settlement of a "Claim". "Professional Liability Claim Expenses" reduce the applicable Limit of Liability
   identified in the Declarations and as described in Section IV.A.2 SELF INSURED RETENTION. Our duty to defend
   all "Claims" or pay any "Claim" amounts or "Professional Liability Claim Expenses" to which this insurance applies
   shall end when the applicable Limit of Liability has been exhausted by the payment of "Professional Liability Claim
   Expenses" or "Damages".

ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                     STF-CPP-109-A CW (05/09)
                                                                                                                   Page 1 of 1
         Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 38 of 66 Page ID #:46
Endorsement # 04




Excess of Project Specific Insurance – Blanket


        Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

     EOC 9487862-07     10/01/2018           10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                            Producer:
LEND LEASE AMERICAS                                                           MARSH USA INC
200 PARK AVENUE                                                               1166 AVENUE OF THE AMERICAS
9TH FL                                                                        NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of premium paid, we agree with you, subject to all terms, exclusions and conditions of the policy that:
I.     Pursuant to Section III. EXCLUSIONS, Item H. of the policy, this endorsement shall provide that this policy operate
       as an excess insurance policy over any Project Specific Professional Liability Policy providing similar insurance
       coverage for you, but only for “Professional Liability Claims” resulting from “Professional Services” provided by the
       “Insured” or any entity for which the “Insured” is legally liable for the project named on any Project Specific
       Professional Liability Policy and otherwise covered under the terms and conditions of this policy.
II. The Self Insured Retention set forth in the Declarations shall apply to “Professional Liability Claims” covered by the
    excess insurance coverage provided by this endorsement.
III. As a condition precedent, this policy shall only apply when the limit(s) of insurance of a Project Specific Professional
     Liability policy is exhausted upon the actual payment of the limit(s) of insurance of the Project Specific Professional
     Liability Policy providing similar coverage.
IV. Nothing contained herein shall operate to increase our Limits of Liability as set forth in the Declarations to the policy.
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




                                                                                                         STF-CPP-112-C CW (06/10)
                                                                                                                       Page 1 of 1
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 39 of 66 Page ID #:47
Endorsement # 05




Ninety (90) Day Cancellation


     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07        10/01/2018          10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is hereby understood and agreed that Section VII. CONDITIONS, Item E.
CANCELLATION is deleted in its entirety and replaced as follows:
1. The policy may only be canceled by us for any of the following reasons:
    a. Non-payment of premium;
    b. A material misrepresentation or concealment of facts;
    c.   A material breach of any provision of the policy.
    If this policy is canceled by us, notice of cancellation will be sent in writing to the “Named Insured”, at the address
    indicated on the Declarations. We will provide such written notice at least ninety (90) days (thirty (30) days for
    non-payment of premium) prior to the date such cancellation is to take effect.
    The effective date and hour of cancellation will be stated in such notice. Cancellation by us also cancels the
    Extended Reporting Period. The “Policy Period”, the Automatic Extended Reporting Period and the Optional
    Extended Reporting Period will end on that date. If we cancel for the reason specified in 1a, there shall be no return
    premium. If we cancel for reasons stated in 1b or 1c, the earned premium shall be computed pro-rata of the policy
    term premium. Payment of any return premium shall not be a condition of cancellation.
2. You may cancel this policy by surrendering to us, or by mailing to us, written notice requesting cancellation and
   stating when thereafter such cancellation shall take effect. If cancelled by you, we shall retain the customary short
   rate proportion of the premium.
3. It is agreed that this policy will automatically terminate upon your acquisition by another entity or your merger into
   another entity, such that the "Named Insured" is not the surviving entity, or your consolidation with another entity, or
   the acquisition of substantially all of your assets by another entity.


ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                       STF-CPP-116-A CW (05/09)
                                                                                                                     Page 1 of 1
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 40 of 66 Page ID #:48
Endorsement # 06




Prior Claims Exclusion


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018          10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                         Producer:
LEND LEASE AMERICAS                                                        MARSH USA INC
200 PARK AVENUE                                                            1166 AVENUE OF THE AMERICAS
9TH FL                                                                     NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is agreed that this policy does not apply to any claim made by or against the
following:

Any "Damages" arising from a "Professional Liability Claim" or "Loss" associated with a "Protective Indemnity Claim"
related to the World Trade Center and surrounding properties resulting from the events of September 11, 2001.

ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                      STF-CPP-121-A CW (05/09)
                                                                                                                    Page 1 of 1
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 41 of 66 Page ID #:49
Endorsement # 07




Punitive Damages Where Allowable By Law


      Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018           10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is hereby understood and agreed that Section III EXCLUSIONS, Item J. is
deleted in its entirety and replaced as follows:
J.   fines or penalties and the multiple portion of multiplied damages. However, this exclusion will not apply to punitive
     damages where allowable by law.

ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                       STF-CPP-123-A CW (05/09)
                                                                                                                     Page 1 of 1
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 42 of 66 Page ID #:50
Endorsement # 08


Modification Of Exclusion R - Deletion Of Terrorism
Exclusion


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07     10/01/2018           10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                        Producer:
LEND LEASE AMERICAS                                                       MARSH USA INC
200 PARK AVENUE                                                           1166 AVENUE OF THE AMERICAS
9TH FL                                                                    NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is hereby understood and agreed that COVERAGE PART A., Section III.
EXCLUSIONS, Exclusion R. is hereby deleted in its entirety and replaced with the following:
   R. war, invasion, act of foreign enemy, hostilities (whether war be declared or not), civil war, rebellion, revolution,
      insurrection or military or usurped power, strike, riot, or civil commotion.


All other terms and conditions remain unchanged.




                                                                                                     STF-CPP-146-B CW (03/11)
                                                                                                                   Page 1 of 1
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 43 of 66 Page ID #:51
Endorsement # 09


Reduced Self-Insured Retention and Indemnity
Endorsement


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018          10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                         Producer:
LEND LEASE AMERICAS                                                        MARSH USA INC
200 PARK AVENUE                                                            1166 AVENUE OF THE AMERICAS
9TH FL                                                                     NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
If the “Insured” is required by contract to evidence a self-insured retention in an amount less than what is shown in Item 4
of the declarations page of this policy, then the “Insured” has the right to sign such contract and issue a certificate of
insurance or other document showing a lesser self-insured retention, but only when required by contract.
It is hereby understood and agreed that if a claim is based on a contract requiring a lower self-insured retention than is
shown in Item 4 of the declarations page of this policy, then the self-insured retention on this policy shall be amended to
be the lesser amount; provided, however, the Insured agrees to indemnify the Company for the difference between the
lesser self-insured retention amount required in the contract or on the certificate of insurance or other related document
and the self-insured retention amount specified in Item 4 of the declarations page of this policy.
The Insured also agrees to reimburse the Company for all costs, expenses, and attorneys fees which may be incurred by
the Company in enforcing this indemnity agreement.
ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




                                                                                                      STF-CPP-149-A CW (04/10)
                                                                                                                    Page 1 of 1
         Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 44 of 66 Page ID #:52
Endorsement # 10


Excess of Project Specific Insurance – Specific Project
Coverage Part A – Contractor’s Professional Liability


        Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.        Return Prem.

     EOC 9487862-07      10/01/2018          10/01/2019          10/01/2018         18232000      ----------       ----------
Named Insured and Mailing Address:                                            Producer:
LEND LEASE AMERICAS                                                           MARSH USA INC
200 PARK AVENUE                                                               1166 AVENUE OF THE AMERICAS
9TH FL                                                                        NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy

PROJECT NAME:            Hard Rock (217 57th St.), New York, NY

                         138 Willoughby, New York, NY

                         W 66th St. , New York, NY

                         Pathmark (250 South St.) , New York, NY (Coverage for this project excludes coverage for claims
                         arising out of bronze panels.)
In consideration of premium paid, we agree with you, subject to all terms, exclusions and conditions of the policy that:
I.     Pursuant to Section III. EXCLUSIONS, Item H. of the policy, this endorsement shall provide for the project named
       above that this policy operate as an excess insurance policy over any Project Specific Professional Liability Policy
       providing similar insurance coverage for you, but only for “Professional Liability Claims” resulting from “Professional
       Services” provided by the “Insured” or any entity for which the “Insured” is legally liable for the project named on
       this endorsement and otherwise covered under the terms and conditions of this policy.
II. The Self Insured Retention set forth in the Declarations shall apply to “Professional Liability Claims” covered by the
    excess insurance coverage provided by this endorsement.
III. As a condition precedent, this policy shall only apply when the limit(s) of insurance of a Project Specific
     Professional Liability policy is exhausted upon the actual payment of the limit(s) of insurance of the Project Specific
     Professional Liability Policy providing similar coverage.
IV. Nothing contained herein shall operate to increase our Limits of Liability as set forth in the Declarations to the
    policy.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




                                                                                                          STF-CPP-152-A CW (05/10)
                                                                                                                        Page 1 of 1
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 45 of 66 Page ID #:53
Endorsement # 11




Rectification Indemnity Coverage


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07      10/01/2018           10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                         Producer:
LEND LEASE AMERICAS                                                        MARSH USA INC
200 PARK AVENUE                                                            1166 AVENUE OF THE AMERICAS
9TH FL                                                                     NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Contractor’s Protective Professional Indemnity and Liability Insurance Policy
It is agreed that the following COVERAGE PART is added to the Policy, and that Sections II. DEFINITIONS, III.
EXCLUSIONS, IV. LIMITS OF LIABILITY, V. CLAIM PROVISIONS, VI. EXTENDED REPORTING PERIOD, and VII.
CONDITIONS shall also apply to coverage provided under this Endorsement.
COVERAGE PART – RECTIFICATION INDEMNITY COVERAGE
I.   INSURING AGREEMENT
     A. COVERAGE
        We shall indemnify the “Named Insured” for the “Named Insured’s” “Actual and Necessary Costs and Expenses”
        incurred in rectifying a “Design Defect” in any part of the construction works or engineering works for any project
        upon which the “Named Insured” is responsible for both design and construction, provided that:
        1. The “Named Insured” reports “Actual and Necessary Costs and Expenses” for a "Design Defect" as soon as
           practicable after discovery of such “Design Defect” but in no event after any certificate of substantial
           completion has been issued;
        2. The “Named Insured” demonstrates to us that the “Actual and Necessary Cost and Expenses” arise out of the
           “Named Insured’s” rendering of “Professional Services” which resulted in a “Design Defect” for which a third
           party could otherwise make a "Claim" against the “Named Insured".
        If we make any payment under this Rectification Indemnity Coverage, we shall be subrogated to all your rights
        against any person or organization, including the right to participate with the "Insured" in the exercise of all the
        "Insured's" rights of recovery. In the event an "Insured" either concurrently or subsequently files a "Protective
        Indemnity Claim" under this policy or a subsequent renewal for the same "Design Defect" for which the insured is
        undertaking or has previously undertaken rectification efforts, then any proceeds the "Insured" may receive from
        the "Design Professional's Insurance" shall be used to reimburse us for any payments under the Rectification
        Indemnity Coverage afforded under this coverage part. If the proceeds received from the "Design Professional's
        Insurance" are less than the amount paid by us under this Rectification Indemnity Coverage, then difference
        between the amount paid by us under this Rectification Indemnity Coverage and the proceeds received from the
        "Design Professional's Insurance" shall erode the limits of liability available under the Contractor's Protective
        Liability Coverage Part.
        In the event that a "Professional Liability Claim" arises out of the same "Design Defect" for which the insured is
        undertaking or has previously undertaken rectification efforts under the Rectification Indemnity Coverage under
        this coverage part, then the "Insured's" self insured retention obligation under the Contractor's Professional
        Liability Coverage Part shall be offset to the extent of the costs incurred by the "Insured" under their self insured
        retention obligations under the Rectification Indemnity Coverage afforded under this coverage part. Any

                                                                                                      STF-CPP-155-B CW (03/11)
                                                                                                                    Page 1 of 2
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 46 of 66 Page ID #:54


       payments made under this Rectification Indemnity Coverage part shall erode the limits of liability available under
       the Contractor's Professional Liability Coverage Part.
   B. ARBITRATION
       In the event that the “Named Insured” and we do not agree that "Actual and Necessary Costs and Expenses"
       presented by the “Named Insured” under this Coverage Part arises out of rectifying a “Design Defect,” we
       mutually agree, the dispute, as to that sole issue only, shall be referred to the American Arbitration Association
       before a three member panel and pursuant to their then existing Construction Industry Rules for an opinion as to
       whether the breach was or was not the result of a “Design Defect". The panel shall be composed of one licensed
       attorney, one licensed “Design Professional” and one licensed contractor. The “Named Insured” and we agree to
       accept the opinion of a majority of the panel as final and binding upon each of us as to that issue only.
II. DEFINITIONS
   In addition to Section II. DEFINITIONS of this policy, and solely as respects the coverage provided under Rectification
   Indemnity Coverage, the following Definitions shall apply:
   A. “Actual and Necessary Costs and Expenses” means those sums actually incurred by the “Named Insured” which
      are reasonably related to the efforts needed to remedy a “Design Defect” covered by this endorsement, less any
      overhead, profit and mark-up of the “Named Insured".
   B. “Design Defect” means an error, omission or negligent act in the preparation of engineering or architectural
      designs, plans, drawings, specifications, calculations, surveys and studies and shall not include any actual or
      alleged negligence in the review of shop drawings and submittals, issuance of change orders, observation of
      construction or review of the contractor’s requests for payment.
   C. “Temporary Works” means formwork, structures, or mechanical plant designed and constructed for use as
      construction aids for a specific project.
III. EXCLUSIONS
   In addition to Section III. EXCLUSIONS of this policy, and solely as respects the coverage provided under this
   Rectification Indemnity Coverage Endorsement, this insurance does not apply to:
   A. the failure of any “Temporary Works” to perform their intended function;
   B. loss of or damage to property other than property which forms the subject of the contract to which the
      “Professional Service” relates;
   C. any cost estimate being exceeded.
IV. REPORTING OF ACTUAL AND NECESSARY COSTS AND EXPENSES
   Solely with respect to the coverage provided by this endorsement, the "Named Insured" must report the "Actual and
   Necessary Costs and Expenses" for a "Design Defect" to us during the policy period or any applicable Automatic
   Extended Reporting Period or Optional Extended Reporting Period.
V. SUB-LIMIT OF LIABILITY/SELF INSURED RETENTION/RETROACTIVE DATE
   The following Sub-Limit of Liability and Self Insured Retention shall apply to RECTIFICATION INDEMNITY
   COVERAGE:
           Sub-Limit of Liability   $10,000,000       Each Claim
                                    $10,000,000       Total for All Claims
           Self Insured Retention $2,000,000 Each Claim
   This Sub-Limit shall be included within the Aggregate Limit of Liability stated in the Declarations and not in addition to
   said limit.
   A retroactive date of 06/30/2011 shall apply to coverage provided under this endorsement.
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




                                                                                                     STF-CPP-155-B CW (03/11)
                                                                                                                   Page 2 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 47 of 66 Page ID #:55
Endorsement # 12



ADA, FHA, OSHA, State Licensing and Regulatory
Board Legal Expense Reimbursement Endorsement

     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018           10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
The following Section I.I. SUPPLEMENTAL PAYMENTS shall be added to the policy following Section I. INSURING
AGREEMENT:
I.I. SUPPLEMENTAL PAYMENTS
    All payments made under this section are not subject to the Self Insured Retention and are in addition to the Limits of
    Liability for each Coverage Part set forth in Item 2 of the Declarations. However, the Company shall not be obligated
    to make any payments under this Section after the Aggregate Limit of Liability set forth in the Declarations has been
    exhausted by payments of “Damages” and/or “Professional Liability Claim Expenses” or tendered into court.
    A. ADA, FHA, OSHA, State Licensing and Regulatory Board Legal Expense Reimbursement
        The Company will reimburse the “Insured” for reasonable and necessary “Legal Expenses” incurred in responding
        to a proceeding initiated directly against the “Insured” by a:
        1. governmental, quasi-governmental or administrative agency under the Americans with Disabilities Act of 1990
           (ADA) as amended 42 USC §§ 12101-12213 (2005), the Fair Housing Act (FHA) as amended 42 USC §§
           3601-3631 (2003), or the Occupational Safety and Health Act (OSHA) as amended 29 USC §§ 651-678
           (1999); or
        2. by a state licensing or regulatory board;
        up to a maximum of twenty-five thousand dollars ($25,000) per proceeding subject to a maximum of fifty
        thousand dollars ($50,000) per “Policy Period”;
        Provided always that any such proceeding results from “Professional Services” and is:
        a. first commenced against the “Insured” during the “Policy Period”; and
        b. reported to the Company in writing during the “Policy Period” and before any legal expenses have been
           incurred; and
        c.   the “Professional Services” occurred on or after any applicable “Retroactive Date.”
    B. For purposes of this Insuring Agreement, the following definition is added to Section II. DEFINITIONS:
        U. “Legal Expense” means the reasonable costs, charges, fees and expenses charged by an attorney appointed
           by us, (other than compensation of any “Insured”) and incurred by the “Insured” solely in connection with such
           proceeding.


All other terms and conditions of this policy remain unchanged.



                                                                                                       STF-CPP-172-A CW (05/11)
                                                                                                                     Page 1 of 1
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 48 of 66 Page ID #:56
Endorsement # 13




Pre-Claims Assistance Endorsement

    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07      10/01/2018          10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                        Producer:
LEND LEASE AMERICAS                                                       MARSH USA INC
200 PARK AVENUE                                                           1166 AVENUE OF THE AMERICAS
9TH FL                                                                    NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is hereby understood and agreed that the following Section I.I.
SUPPLEMENTAL PAYMENTS shall be added to the policy following Section I. INSURING AGREEMENT:
I.I. SUPPLEMENTAL PAYMENTS
   All payments made under this section are not subject to the Self Insured Retention and are in addition to the Limits of
   Liability for each Coverage Part set forth in Item 2 of the Declarations. However, the Company shall not be obligated
   to make any payments under this Section after the Aggregate Limit of Liability set forth in the Declarations has been
   exhausted by payments of “Damages” and/or “Professional Liability Claim Expenses” or tendered into court.
   A. Pre-Claims Assistance
       If the “Insured” reports a circumstance during the “Policy Period,” in accordance with Section V. CLAIM
       PROVISIONS, Item A.2. NOTICE OF CIRCUMSTANCE the Company may, in its sole discretion and at its
       expense, investigate or monitor such circumstance, and such costs or expenses will not be applied towards the
       Self Insured Retention or erode the applicable Limit of Liability until a “Claim” is made.


ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




                                                                                                     STF-CPP-173-B CW (08/11)
                                                                                                                   Page 1 of 1
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 49 of 66 Page ID #:57
Endorsement # 14




Defense Provision – New York


     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer     Add'l Prem.         Return Prem.

 EOC 9487862-07       10/01/2018           10/01/2019          10/01/2018         18232000       ----------         ----------
Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Contractor’s Protective Professional Indemnity & Liability Policy
In consideration of the payment of premium and the Self Insured Retention by you and the reliance upon the statements
in the Application made a part hereof, we agree with you, subject to all the terms, exclusions, and conditions of the policy
that:
SECTION V., CLAIM PROVISIONS, paragraph A.1.D. shall be deleted in its entirety and replaced as follows:
D. The “Insured” shall have the right to select legal counsel or the “Insured” shall have the right to consent to our choice
   of legal counsel, which consent shall not be unreasonably withheld. If the “Insured” elects to select the legal counsel
   we may exercise the right that such counsel have certain minimum qualifications with respect to their legal
   competency including experience in defending claims similar to the one pending against the “Insured” and require that
   such counsel have errors and omissions insurance coverage. The attorneys fees and all other litigation expenses we
   must pay to that counsel are limited to the rates we actually pay to counsel we retain in the ordinary course of
   business in the defense of similar claims in the community where the “Claim” arose or is being defended. With
   respect to any such counsel an “Insured” agrees to utilize its best efforts to have counsel respond to our request for
   information regarding the “Claim” in a timely manner.
    The “Insured” shall have the right to participate in, and assist in the direction of the defense of any “Claim".
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




CLASSIFICATION CODE: 2-14180 LARGE FIRMS                                                                      U-FTZ-167-A NY (05/10)
                                                                                                                         Page 1 of 1
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 50 of 66 Page ID #:58
Endorsement # 15




Amendment of Definitions


     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer       Add'l Prem.        Return Prem.

 EOC 9487862-07        10/01/2018          10/01/2019          10/01/2018         18232000         ----------       ----------
Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
Section II. DEFINITIONS:       Definition E., "Design Professional" will be deleted in its entirety and replaced with:



E. "Design Professional" means those persons or entities or successors legally qualified to perform "Professional
Services" either itself or through the services of a subcontractor or subconsultant at any tier.



Sub-Section 6. of Definition G., "Insured" will be deleted in its entirety and replaced with:



6. any "Insured" with regard to its participation in a legal entity including a limited liability company, partnership, or
joint venture, but only to the extent of the Insured's legal liability resulting from its performance of "Professional
Services" under the respective legal entity or joint venture.



Definition J., "Named Insured" will be deleted in its entirety and replaced with:



J. "Named Insured" means Lend Lease Americas Inc., including any and all affiliates, divisions, subsidiary
corporations, or subsidiary limited liability companies thereof, of any tier, in the past, as now or hereafter constituted;
and any other legal entity in which you have more than fifty percent ownership or over which you exercise
management or financial control or have contractually agreed to provide insurance for such an entity. It is further
agreed, all partnerships or joint ventures, including all tiers of ownership of said partnerships or joint ventures, in
which the Named Insured or any other Named Insured entity, of any tier, in the past, as now or hereafter constituted
has more than fifty percent ownership, shall be included as Named Insured, but this policy shall apply as excess of
any other valid and collectible insurance available to the partnership or joint venture.



                                                                                                            STF-CPP-140-A CW (01/10)
                                                                                                                         Page 1 of 2
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 51 of 66 Page ID #:59



Definition O., "Professional Services" will be deleted in its entirety and replaced with:



O. "Professional Services" for purposes of Coverage Part A means those services that the "Insured", a "Design
Professional", or an entity providing services under contract to a "Design Professional", are legally qualified to
perform for others in their capacity as a design professional, architect, engineer, landscape architect, surveyor,
quantity surveyor, land surveyor or planning supervisor, construction manager, design management, construction
(design and management) supervision, a LEED accredited professional, interior designer/space planner, cost
consultant, scientist, technical consultant, property manager or facilities manager, project management,procurement
management, program management, or other consultant or inspector, provider of "Technology Services", or as
specifically described by endorsement to this policy.



Definition P., "Professional Services" will be deleted in its entirety and replaced with:



P. "Professional Services" for purposes of Coverage Part B means those services that the "Design Professional", or
an entity providing services under contract to the "Design Professional", are legally qualified to perform for others in
their capacity as a design professional, architect, engineer, landscape architect, land surveyor or planner,
construction manager, a LEED accredited professional, interior designer/space planner, provider of "Technology
Services", or as specifically described by endorsement to this policy.



Definition R., "Protective Indemnity Claim" will be deleted in its entirety and replaced with:



R. "Protective Indemnity Claim" means a written demand by you against the "Design Professional" seeking a remedy
from or alleging liability or responsibility on the part of such "Design Professional" for "Loss" arising out of the "Design
Professional's" rendering or failure to render "Professional Services".




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                         STF-CPP-140-A CW (01/10)
                                                                                                                      Page 2 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 52 of 66 Page ID #:60
Endorsement # 16




Amendment of Prior Knowledge Provision


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018          10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                         Producer:
LEND LEASE AMERICAS                                                        MARSH USA INC
200 PARK AVENUE                                                            1166 AVENUE OF THE AMERICAS
9TH FL                                                                     NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is agreed that SECTION I. INSURING AGREEMENT, COVERAGE PART
A - CONTRACTOR'S PROFESSIONAL LIABILITY COVERAGE, Paragraph 3. is deleted in its entirety and replaced
with the following:



3. prior to the effective date of the first policy issued to you and continuously renewed by us, the Director of Risk
Management had no knowledge of any circumstance that could reasonably be expected to result in a "Professional
Liability Claim".




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                       STF-CPP-140-A CW (01/10)
                                                                                                                    Page 1 of 1
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 53 of 66 Page ID #:61
Endorsement # 17




Indemnified Parties - Vicarious Liability


     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018           10/01/2019          10/01/2018         18232000      ----------       ----------
Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is hereby understood and agreed that the Company shall indemnify the
"Indemnified Parties" for "Damages" and reasonable "Claims Expenses" for "Pollution Event(s)"



(1) to the proportionate extent caused by the acts, errors or omissions of the "Named Insured(s)" in the providing of
or the failure to provide "Professional Services"; and



(2) in excess of the Self Insured Retention; and



(3) subject to all terms, conditions and exclusions of this Policy and its endorsements. Except as otherwise provided
in this Policy, the Company has no indemnity or other obligations for liabilities, damages, judgments, and / or
attorneys' fees and related costs incurred by or on behalf of the "Indemnified Parties".



The Company, in its discretion and judgment, may elect to defend the "Indemnified Parties" for "Third Party Claims"
involving any matter, which allegedly or actually falls predominately within the indemnification obligation set forth in
this endorsement. Should the Company not defend the "Indemnified Parties", at the conclusion of any "Claim",
arbitration, or mediation, it will reimburse the "Indemnified Parties" for "Damages" and reasonable "Claims Expenses"
for "Pollution Event(s)" to the proportionate extent caused by the acts, errors or omissions of the "Named Insured(s)"
in the providing of or failure to provide "Professional Services" for the Specified Project; and (2) in excess of the Self
Insured Retention; and



(3) subject to all of the terms, conditions and exclusions of this Policy and its endorsements. Should the Company
elect to provide a defense for the "Indemnified Parties", the following additional conditions shall apply:


                                                                                                         STF-CPP-140-A CW (01/10)
                                                                                                                      Page 1 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 54 of 66 Page ID #:62




1. The defense shall be conducted jointly with the defense of the same or any related "Claim" asserted against the
"Named Insured".



2. The "Indemnified Parties" shall cooperate fully with the Company and / or its designee or appointed defense
counsel in connection with the defense.



3. The Company shall have the exclusive right to control the conduct of the defense including selection of defense
counsel, determination of defense strategy, and decisions regarding settlement or compromise.



"Third Party Claims" shall not include any Claim made by any person or entity in contract with the "Indemnified
Parties" or any entity providing services or materials for the Specified Project, including any employee, heir or
relative of suchentity.



For the purposes of this endorsement, the following definitions are added:



1. "Indemnified Parties" shall mean National Electrical Benefit Fund (NEBF) as financier to contract entered into by
Bovis Lend Lease Inc. for the development of 210 N. Wells, Chicago, IL, USA 60611:



2. "Pollution Event(s)" shall mean the discharge, dispersal, release or escape of any acid, liquid, gaseous or thermal
irritant, contaminant or pollutant including smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste.




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED




                                                                                                      STF-CPP-140-A CW (01/10)
                                                                                                                   Page 2 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 55 of 66 Page ID #:63
Endorsement # 18




Negligence Endorsement


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.        Return Prem.

 EOC 9487862-07      10/01/2018           10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                         Producer:
LEND LEASE AMERICAS                                                        MARSH USA INC
200 PARK AVENUE                                                            1166 AVENUE OF THE AMERICAS
9TH FL                                                                     NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is hereby understood and agreed that negligent or negligence, wherever it
is used in this policy, including attached endorsements, is deleted in its entirety.




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                       STF-CPP-140-A CW (01/10)
                                                                                                                    Page 1 of 1
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 56 of 66 Page ID #:64
Endorsement # 19




Amendment of Insuring Agreement - Coverage
Part A

     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer     Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018           10/01/2019          10/01/2018         18232000       ----------       ----------
Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is agreed that SECTION I. INSURING AGREEMENT, COVERAGE PART
A CONTRACTOR'S PROFESSIONAL LIABILITY COVERAGE, Paragraph 1. is deleted in its entirety and replaced
with the following:



1. the "Professional Liability Claim" arises out of an actual or alleged act, error or omission with respect to the
rendering of or failure to render "Professional

Services" or that should have been rendered by you or any entity for whom you are legally responsible, including your
liability arising out of any joint ventures in which you participate;




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                          STF-CPP-140-A CW (01/10)
                                                                                                                       Page 1 of 1
      Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 57 of 66 Page ID #:65
Endorsement # 20




Amendment of Notice of Circumstance


     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.       Return Prem.

 EOC 9487862-07       10/01/2018           10/01/2019          10/01/2018         18232000     ----------       ----------
Named Insured and Mailing Address:                                          Producer:
LEND LEASE AMERICAS                                                         MARSH USA INC
200 PARK AVENUE                                                             1166 AVENUE OF THE AMERICAS
9TH FL                                                                      NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is hereby understood and agreed that Paragraph 2. NOTICE OF
CIRCUMSTANCE of SECTION V. CLAIM PROVISIONS, A. PROFESSIONAL LIABILITY CLAIMS AND OTHER
"CLAIMS" is deleted in its entirety and replaced with the following:



2. NOTICE OF CIRCUMSTANCE



If during the "Policy Period" the "Insured's" Director of Risk Management becomes aware of any act, error or
omission which may be expected to give rise to a "Claim" under the policy, the "Insured" shall provide written notice
to us as soon as possible containing any particulars sufficient to identify an "Insured" and provide reasonably
obtainable information with respect to:



A. the time, place and explanation of the act, error or omission including how the "Insured" first became aware of the
act, error or omission;



B. the name and addresses of any injured parties, available witnesses, and the "Damages" which have or may result
from such act, error, or omission;



C. any and all investigative or engineering reports, data or information about the act, error or omission, or
"Damages";



D. copies of any relevant contracts between the "Insured" and its client for "Professional Services".

                                                                                                        STF-CPP-140-A CW (01/10)
                                                                                                                     Page 1 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 58 of 66 Page ID #:66




then any "Claim", for which coverage is provided by this policy, that may be made against the "Insured" arising out of
such act, error or omission shall be deemed for the purposes of this insurance, to have been made on the date on
which the notice was mailed by you. In such event, the "Insured" agrees to cooperate fully with us and do all things
reasonably necessary to allow us to investigate such claim and mitigate to the fullest extent possible the resultant
"Damages", if any. At our sole discretion, we may elect to investigate any circumstance, which is reported to us. Any
costs associated with the investigation of a circumstance prior to a "Claim" being made will not be considered "Claim
Expenses". These costs shall not be applied toward reducing the applicable Self Insured Retention and are in
addition to the Limit of Liability and shall be borne by us.




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                     STF-CPP-140-A CW (01/10)
                                                                                                                  Page 2 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 59 of 66 Page ID #:67
Endorsement # 21




Nuclear Energy Liability Exclusion - Broad Form


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer     Add'l Prem.        Return Prem.

 EOC 9487862-07       10/01/2018          10/01/2019          10/01/2018         18232000       ----------        ----------
Named Insured and Mailing Address:                                         Producer:
LEND LEASE AMERICAS                                                        MARSH USA INC
200 PARK AVENUE                                                            1166 AVENUE OF THE AMERICAS
9TH FL                                                                     NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided by the following:
Contractor's Protective Professional Indemnity and Liability Insurance Policy
In consideration of the premium charged, it is agreed that this policy does not apply:
A. Under any liability coverage, to “bodily injury” or “property damage”;
    1. With respect to which an "insured" under the policy is also an insured under a nuclear energy liability policy
       issued by the Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability Underwriters,
       Nuclear Insurance Association of Canada or any of their successors, or would be an "insured" under any such
       policy but for its termination upon exhaustion of its limit of liability; or
    2. Resulting from the “hazardous properties” of “nuclear material” and with respect to which (i) any person or
       organization is required to maintain financial protection pursuant to the Atomic Energy Act of 1954, or any law
       amendatory thereof, or (ii) the insured is, or had this policy not been issued would be, entitled to indemnity from
       the United States of America, or any agency thereof, with any person or organization.
B. Under any medical payments coverage, to expenses incurred with respect to “bodily injury” resulting from the
   “hazardous properties” of “nuclear material” and arising out of the operation of a “nuclear facility” by any person or
   organization.
C. Under any liability coverage, to “bodily injury” or “property damage” resulting from the “hazardous properties” of
   “nuclear material” if:
    1. The “nuclear material” (i) is at any “nuclear facility” owned by, or operated by or on behalf of, an insured or (ii) has
       been discharged or dispersed there from;
    2. The “nuclear material” is contained in “spent fuel” or “waste” at any time possessed, handled, used, processed,
       stored, transported or disposed of by or on behalf of an insured; or
    3. The “bodily injury” or “property damage” arises out of the furnishing by an insured of services, materials, parts or
       equipment in connection with the planning, construction, maintenance, operation or use of any “nuclear facility”
       but if such facility is located within the United States of America, its territories or possessions or Canada, this
       exclusion (3) applies only to “property damage” to such a “nuclear facility” and any property thereat.
D. As used in this endorsement:
    “Hazardous properties” include radioactive, toxic or explosive properties;
    “Nuclear material” means "source material", “special nuclear material” or “by-product material”;
    "Source material", "special nuclear material" and "by-product material" have the meanings given them in the Atomic
    Energy Act of 1954 or in any law amendatory thereof.

                                                                                                        STF-CPP-119-B CW (02/12)
                                                                                                                      Page 1 of 2
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 60 of 66 Page ID #:68


  “Spent fuel” means any fuel element or fuel component, solid or liquid, which has been used of exposed to radiation
  in a “nuclear reactor”;
  “Waste” means any waste material (1) containing “by-product material” other than the tailings or wastes produced by
  the extraction or concentration of uranium or thorium from any ore processed primarily for its “source material”
  content, and (2) resulting from the operation by any person or organization of any “nuclear facility” included under
  paragraphs (1) and (2) of the definition of “nuclear facility”.
  “Nuclear facility” means:
  1. Any “nuclear reactor”;
  2. Any equipment or device designed or used for (i) separating the isotopes of uranium or plutonium, (ii) processing
     or utilizing “spent fuel” or (iii) handling, processing or packaging “waste”;
  3. Any equipment or device used for the processing, fabricating or alloying of “special nuclear material” if at any time
     the total amount of such material in the custody of the “insured” at the premises where such equipment or device
     is located consists of or contains more than 25 grams of plutonium or uranium 233 or any combination thereof, or
     more than 250 grams of uranium 235;
  4. Any structure, basin, excavation, premises or place prepared or used for the storage or disposal of “waste”; and
     includes the site on which any of the foregoing is located, all operations conducted on such site and premises
     used for such operations;
  "Nuclear reactor" means any apparatus designed or used to sustain nuclear fission in a self-supporting chain reaction
  or to contain a critical mass of fissionable material;
  "Property damage" includes all forms of radioactive contamination of property.


ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




                                                                                                  STF-CPP-119-B CW (02/12)
                                                                                                                Page 2 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 61 of 66 Page ID #:69
Endorsement # 22


Cancellation, Nonrenewal and Conditional
Nonrenewal – New York


     Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.         Return Prem.

 EOC 9487862-07        10/01/2018           10/01/2019          10/01/2018         18232000     ----------          ----------
Named Insured and Mailing Address:                                           Producer:
LEND LEASE AMERICAS                                                          MARSH USA INC
200 PARK AVENUE                                                              1166 AVENUE OF THE AMERICAS
9TH FL                                                                       NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Contractor’s Protective Professional Indemnity & Liability Policy
In consideration of the payment of premium and the Self Insured Retention by you and the reliance upon the statements
in the Application made a part hereof, we agree with you, subject to all the terms, exclusions, and conditions of the policy
that SECTION VII. CONDITIONS, Paragraph E. CANCELLATION is deleted in its entirety and replaced with the following:
E. CANCELLATION, NONRENEWAL AND CONDITIONAL NONRENEWAL
    1. CANCELLATION
        a. This policy may be cancelled by you by surrender of the policy to us or by mailing written notice to us stating
           when such cancellation shall take effect. If this policy is cancelled by you, we shall retain the customary
           short-rate proportion of the premium. In no event may the requested date of cancellation be greater than ten
           (10) days prior to the date the request is received by us.
        b. If this policy has been effect for sixty (60) days or fewer, we may cancel the entire policy by mailing or
           delivering to the first Named Insured written notice stating the reason for cancellation at the mailing address
           shown in this policy, and the authorized agent or broker at least:
             (1) Twenty (20) days before the effective date of cancellation if the policy is cancelled for any reason not
                 included in paragraph (2) below.
             (2) Fifteen (15) days before the effective date of cancellation if the policy is cancelled for any of the following
                 reasons:
                  (a) Nonpayment of premium;
                  (b) Conviction of a crime arising out of acts increasing the hazard insured against;
                  (c) Discovery of fraud or material misrepresentation in the obtaining of the policy or in the presentation of
                      a “claim” there under;
                  (d) After issuance of the policy or after the last renewal date, discovery of an act or omission, or a
                      violation of any policy condition, that substantially and materially increases the hazard insured
                      against, and which occurred subsequent to inception of the current “policy period”;
                  (e) Material change in the nature or extent of the risk, occurring after issuance or last annual renewal
                      anniversary date of the policy, which causes the risk of loss to be substantially and materially
                      increased beyond that contemplated at the time the policy was issued or last renewed;




CLASSIFICATION CODE: 2-14180 LARGE FIRMS                                                                      U-FTZ-166-A NY (05/10)
                                                                                                                         Page 1 of 3
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 62 of 66 Page ID #:70


               (f) Required pursuant to a determination by the Superintendent that continuation of the present premium
                   volume of the insurer would jeopardize the insurer’s solvency or be hazardous to the interest of the
                   insurer’s policyholders, creditors or the public;
               (g) A determination by the Superintendent that the continuation of the policy would violate, or would
                   place the insurer in violation of, any provision of the Insurance Code;
               (h) Revocation or suspension of your license to practice your profession; or
               (i) With respect to an excess liability policy, the cancellation of one or more of the underlying policies for
                   any of the reasons set forth in paragraphs (a) through (h) of this subsection, and such policies are not
                   replaced without lapse.
           (3) If this policy has been in effect for greater than sixty (60) days, or if this policy is a renewal or continuation
               of a policy issued by us, the policy may be cancelled by us for any reasons listed in Subsection 1.b.(2)
               above, provided a written notice stating the reason for cancellation is mailed or delivered to the first
               Named Insured at the address shown in this policy, and to the authorized agent or broker at least fifteen
               (15) days before the effective date of cancellation.
           (4) Notice of cancellation will state the effective date of cancellation. The “policy period” will end on that date.
           (5) If notice is mailed, proof of mailing will be sufficient proof of notice.
           (6) If you cancel, earned premium will be computed in accordance with the customary short-rate table and
               procedure. If we cancel, earned premium shall be computed pro-rata.
               However, when the premium is advanced under a premium finance agreement, the cancellation refund
               will be pro-rata. Under such financed policies, we will be entitled to retain a minimum earned premium of
               10% of the total policy premium or $60, whichever is greater. Premium adjustment may be made either at
               the time cancellation is effected or as soon as practicable after cancellation becomes effective, but
               payment or tender of unearned premium is not a condition of cancellation.
           (7) If one of the reasons for cancellation in Subsection 1.b.(2) exists, we may cancel this entire policy, even if
               the reason for cancellation pertains only to a new coverage or endorsement initially effective subsequent
               to the original issuance of this policy.
   2. NONRENEWAL
      If we elect not to renew this policy, we shall send notice as provided in Subsection 4. below along with the reason
      for nonrenewal.
   3. CONDITIONAL RENEWAL
      If we condition renewal of this policy upon:
      a. Change of limits;
      b. Change in type of coverage;
      c.   Reduction of coverage;
      d. Increased self insured retention;
      e. Additional exclusion; or
      f.   Increased premiums in excess of 10%, exclusive of any premium increase due to and commensurate with
           insured value added or increased exposure units; or as a result of experience rating, loss rating, retrospective
           rating or audit;
      We shall send notice as provided in Subsection 4 below.
   4. NOTICES OF NONRENEWAL AND CONDITIONAL RENEWAL
      a. If the insurer decides not to renew this policy or to conditionally renew this policy as provided in Subsections
         2. and 3. above, the insurer shall mail or deliver written notice to the first Named Insured at least sixty (60)
         but not more than one hundred twenty (120) days before:
           (1) The expiration date; or




CLASSIFICATION CODE: 2-14180 LARGE FIRMS                                                                   U-FTZ-166-A NY (05/10)
                                                                                                                      Page 2 of 3
    Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 63 of 66 Page ID #:71




           (2) The anniversary date if this is a continuous policy.
      b. In the event we extend the “policy period” to comply with a. above, the aggregate limit of the expiring policy
         shall be increased in proportion to the policy extension.
      c.   Notice will be mailed or delivered to the first Named Insured at the address shown in the policy and to the au
           thorized agent or broker. If notice is mailed, proof of mailing will be sufficient proof of notice.
      d. We will not send the first Named Insured notice of nonrenewal or conditional renewal if you, the authorized
         agent or broker or another insurer of yours mails or delivers notice that the policy has been replaced or is no
         longer desired.
   5. AVAILABILITY OF LOSS INFORMATION
      a. Every notice of cancellation, conditional renewal and nonrenewal shall advise of the availability of the
         following loss information:
           (1) Information on closed claims, including date and description of occurrence, and any payments;
           (2) Information on open claims, including date and description of occurrence, and amounts of any payments;
               and
           (3) Information on notice of any occurrences, including date and description of occurrence.
      b. Upon written request by you or such insured, authorized agent or broker, we shall provide the loss
         information in accordance to a. (1) through (3) of this subsection.
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




CLASSIFICATION CODE: 2-14180 LARGE FIRMS                                                             U-FTZ-166-A NY (05/10)
                                                                                                                Page 3 of 3
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 64 of 66 Page ID #:72
Endorsement # 23


New York Regulation 121
Notice and Disclosure Statement


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.         Return Prem.

 EOC 9487862-07       10/01/2018          10/01/2019          10/01/2018         18232000     ----------         ----------
Named Insured and Mailing Address:                                         Producer:
LEND LEASE AMERICAS                                                        MARSH USA INC
200 PARK AVENUE                                                            1166 AVENUE OF THE AMERICAS
9TH FL                                                                     NEW YORK, NY 10036-2708
NEW YORK, NY 10166-0005



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Contractor’s Protective Professional Indemnity & Liability Policy
                                                     Claims Made Relationship
“Claims made relationship” means that period of time between the effective date of your first claims-made policy with us
and the cancellation or nonrenewal of the last consecutive claims made policy between such parties, where there has
been no gap in coverage, but does not include any period covered by extended reporting period coverage.
                                          Retroactive Date/Prior Acts Exclusion Date
If the policy has a retroactive date feature or an exclusion or other wording deleting coverage for incidents that happened
before a certain date (a prior acts exclusion) then THERE IS NO COVERAGE FOR INCIDENTS THAT HAPPENED
PRIOR TO THAT DATE.
                                                            Claims Made
In a claims made policy, coverage is provided for liability ONLY IF THE CLAIM FOR LOSS IS FIRST MADE AGAINST
THE INSURED AND REPORTED TO THE COMPANY IN WRITING DURING THE POLICY PERIOD. All coverage
ceases upon termination of the policy, except for the extended reporting period coverage.
                       Automatic Extended Reporting Period / Optional Extended Reporting Period
An automatic extended reporting period coverage goes into effect upon termination of coverage, however, this automatic
extended reporting period lasts for only sixty (60) days. In addition to the automatic extended reporting period an optional
extended reporting period of one (1), two (2) or three (3) years in duration may be purchased. The automatic extended
reporting period is effectuated and the optional extended reporting period can be purchased if you or we terminated
coverage. The extended reporting periods provide coverage for a period of time after termination of the policy for
incidents that have happened before the termination of coverage and otherwise covered by the policy but only if the
“claim” is first made against the “insured” and reported in writing to us during an extended reporting period. After the end
of the extended reporting period, you will have a gap in your insurance coverage, unless you have obtained appropriate
coverage to fill the gap.
UPON TERMINATION OF COVERAGE IT IS VERY IMPORTANT THAT YOU CONSULT WITH YOUR INSURANCE
AGENT OR BROKER OR OTHER PROFESSIONAL INSURANCE ADVISOR.
There is no additional premium charge for the automatic extended reporting period.
The additional premium charged for an optional extended reporting period shall be as follows:




CLASSIFICATION CODE: 2-14180 LARGE FIRMS                                                                   U-FTZ-170-A NY (05/10)
                                                                                                                      Page 1 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 65 of 66 Page ID #:73


One (1) year in duration – One hundred percent (100%) of the premium per expiring “policy period".
Two (2) years in duration – One hundred fifty (150%) of the premium per expiring “policy period".
Three (3) years in duration – Two hundred percent (200%) of the premium per expiring “policy period".
Upon cancellation due to nonpayment of premium or fraud on your part, we shall not be required to provide a premium
quotation for an optional extended reporting period unless requested by you.
                            Future Premium Increases As Claims Made Relationship Matures
During the first several years of being covered on a claims made basis, claims made rates are generally comparatively
lower than rates on other types of policies generally known as occurrence policies, especially if there is no prior acts
coverage initially, and you can expect substantial annual premium increases, independent of overall rate level increases,
until the claims made relationship reaches maturity.
THIS DISCLOSURE SUPPLEMENT GENERALLY DISCUSSES CERTAIN IMPORTANT FEATURES OF THE POLICY.
YOU SHOULD READ THE ENTIRE POLICY CAREFULLY AND DISCUSS IT WITH AN INSURANCE AGENT OR
BROKER OR OTHER PROFESSIONAL INSURANCE ADVISOR. THE PROVISIONS OF THE POLICY FORM AND
ENDORSEMENTS THERETO ARE CONTROLLING.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




CLASSIFICATION CODE: 2-14180 LARGE FIRMS                                                                U-FTZ-170-A NY (05/10)
                                                                                                                   Page 2 of 2
     Case 2:20-cv-01249-JAK-JC Document 1-1 Filed 02/07/20 Page 66 of 66 Page ID #:74
Endorsement # 24




Sanctions Exclusion Endorsement


Policyholder: LEND LEASE AMERICAS


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions language in
the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any payments or
provide any service or benefit to any insured, beneficiary, or third party who may have any rights under this policy to the
extent that such cover, payment, service, benefit, or any business or activity of the insured would violate any applicable
trade or economic sanctions law or regulation.
The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule, coverage
parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each coverage provided.
Policy may also be referred to as contract or agreement.
We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall mean the
company providing the coverage.
Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or as
otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the policy.
These definitions may be found in various parts of the policy and any applicable riders or endorsements.
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




                                                                                                      U-GU-1191-A CW (03/15)
                                                                                                                  Page 1 of 1
